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     CENTRAL VALLEY EDEN ENVIRONMENTAL DEFENDERS
 7

 8
                                         UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
     CENTRAL VALLEY EDEN                     ) Case No.:
11
     ENVIRONMENTAL DEFENDERS, LLC, a )
     California limited liability company,   ) COMPLAINT FOR INJUNCTIVE AND
12
                                             ) DECLARATORY RELIEF, CIVIL
                     Plaintiff,              )
13
                                             ) PENALTIES AND REMEDIATION
            vs.                              )
14
                                             ) (Federal Water Pollution Control Act, 33
     AES SUNOPTICS, INC., an Alabama         ) U.S.C. §§1251 et seq.)
15
                                             )
     corporation; A1 DISTRIBUTING,           )
16   INCORPORATED, a California corporation; )
     and DOES 1-10, inclusive,               )
17
                                             )
                     Defendants.             )
18
            Plaintiff CENTRAL VALLEY EDEN ENVIRONMENTAL DEFENDERS, LLC
19
     (“EDEN” or “Plaintiff”) hereby brings this civil action pursuant to the Federal Water Pollution
20

21
     Control Act, also known as the Clean Water Act (“CWA”), 33 U.S.C. §§ 1251 et seq.

22
                                    I.      INTRODUCTION

23          1.      This action is a citizen suit for injunctive relief, declaratory relief, civil penalties,

24   and remediation against Defendants AES SUNOPTICS, INC. and A1 DISTRIBUTING,

25   INCORPORATED (“Defendants”) for current and ongoing violations of the National Pollutant

26   Discharge Elimination System (“NPDES”) permit requirements of the CWA.

27

28




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 1          Notice Letter
 2          2.        On or about September 4, 2024, EDEN provided a Notice of Defendants’
 3   violations of the CWA to the (1) Administrator of the United States Environmental Protection
 4   Agency (“EPA”), (2) EPA’s Regional Administrator for Region Nine, (3) Executive Director of
 5   the State Water Resources Control Board (“State Board”) and (4) to Defendants, including a
 6   copy delivered to Defendants by certified mail, to Facility Manager, AES Sunoptics, 6250 27th
 7
     Street, Sacramento, California (“the facility”), as required by the CWA. 33 U.S.C. §
 8
     1365(b)(1)(A).
 9
            3.        A copy of Plaintiff’s Notice of Intent to Sue (“Notice”) is attached hereto as
10
     Exhibit A and is incorporated herein by reference.
11
            4.        More than sixty days have passed since Plaintiff’s Notice was properly and
12
     lawfully served on Defendants, the State Board, and the Regional and National EPA
13
     Administrators.
14
            5.        Plaintiff is informed and believes, and thereupon alleges, that neither the National
15
     EPA, nor the State of California has commenced or is diligently prosecuting a court action to
16
     redress the violations alleged in this complaint.
17
            6.        This action’s claim for civil penalties is not barred by any prior administrative
18
     penalty under section 309(g) of the CWA, 33 U.S.C. § 1319(g).
19
                                     II. PARTIES
20
            Plaintiff
21
            7.        Plaintiff CENTRAL VALLEY EDEN ENVIRONMENTAL DEFENDERS is an
22
     environmental membership group organized under the laws of the State of California.
23

24
            Defendants

25
            8.        Plaintiff is informed and believes, and on such information and belief alleges, that

26   Defendant AES SUNOPTICS, INC., located at 6250 27th Street, in Sacramento, California, is a

27   corporation formed and domiciled in Alabama, which is currently in good standing with the

28   Alabama Secretary of State.



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 1           9.      Plaintiff is informed and believes, and on such information and belief alleges, that
 2   Defendant AES Sunoptics, Inc. is identified in the Regional Water Board’s records as the
 3   Industrial General Permit applicant and operator of the facility.
 4           10.     Plaintiff is informed and believes, and on such information and belief alleges, that
 5   Defendant A1 DISTRIBUTING, INCORPORATED is a California corporation currently in
 6   good standing with the California Secretary of State.
 7
             11.     Plaintiff is informed and believes, and on such information and belief alleges, that
 8
     Defendant A1 Distributing, Incorporated is the legal property owner of Defendant AES
 9
     Sunoptics’ facility.
10
             12.     Plaintiff is informed and believes, and thereupon alleges, that Defendant A1
11
     Distributing, Incorporated had actual knowledge of Defendant AES Sunoptics’ violations of the
12
     General Permit and the CWA, coupled with sufficient control over Defendant AES Sunoptics
13
     due to the terms of the lease between Defendant AES Sunoptics and Defendant A1 Distributing,
14
     Incorporated, but nevertheless failed to require that Defendant AES Sunoptics comply with
15
     applicable environmental laws, including the General Permit and the CWA.
16

17
                    III. JURISDICTION, VENUE AND INTRADISTRICT ASSIGNMENT
18
             13.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
19
     section 1331 (federal question), and 33 U.S.C. section 1365(a) (CWA citizen suit jurisdiction).
20
     The relief requested is authorized pursuant to 28 U.S.C. sections 2201-2202 (declaratory relief),
21
     33 U.S.C. sections 1319(b), 1365(a) (injunctive relief), and 33 U.S.C. sections 1319(d), 1365(a)
22
     (civil penalties).
23

24
             14.     Venue is proper because Defendants reside in and the events or omissions giving

25
     rise to Plaintiff’s claims occurred in this District. 28 U.S.C. §1391(b)(1), (2). Venue is also

26   proper because the facility’s CWA violations have occurred and are occurring within the District.

27   33 U.S.C. § 1365(c)(1).

28




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 1                          IV. ARTICLE III STANDING
 2          15.     Plaintiff’s organizational purpose is the protection, preservation and enhancement
 3   of the rivers, creeks, streams, lakes and oceans (and their tributaries) in California.
 4          16.     Plaintiff’s organizational purpose and mission is accomplished through
 5   enforcement of the provisions of the Federal Clean Water Act and California’s Industrial General
 6   Permit, in seeking redress against Industrial Dischargers who violate the CWA by failing to
 7
     comply with all standard conditions of the Industrial General Permit.
 8
            17.     Plaintiff’s associational members volunteer their resources to join EDEN’s
 9
     organizational purpose and mission.
10
            18.     Plaintiff’s associational members reside throughout Northern California. Some of
11
     EDEN’s members reside, work and/or recreate near the Sacramento River, a tributary of the
12
     Sacramento-San Joaquin River Delta Waterways (the “Receiving Waters” for Defendant AES
13
     Sunoptics’ storm water run-off), and use those waters and their watersheds for kayaking,
14
     canoeing, cycling, recreation, duck hunting, sportfishing, swimming, hiking, bird watching,
15
     photography and nature walks. Their use and enjoyment of these natural resources has been and
16
     continues to be adversely impaired by Defendants’ failure to comply with the procedural and
17
     substantive requirements of the Industrial General Permit and the CWA.
18
            19.     Plaintiff has Article III standing as an association to bring this suit against
19
     Defendants, as at least one of EDEN’s current members is experiencing an ongoing, concrete,
20
     and particularized injury fairly traceable to Defendants’ violations of the CWA and Industrial
21
     General Permit, which likely can be redressed by a judicial decision granting Plaintiff the
22
     injunctive relief requested herein.
23

24
            20.     The aesthetic and recreational interests of the individual associational members of

25
     Plaintiff with Article III standing have been adversely impacted by Defendants’ failure to

26   comply with the procedural and substantive requirements of the Industrial General Permit and

27   the CWA, as delineated herein.

28




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 1          21.     Plaintiff’s associational members who qualify for standing in this matter are all
 2   current members who have been members of EDEN since at least September 4, 2024, the date
 3   that Plaintiff provided to Defendants the Notice Letter attached hereto as Exhibit A.
 4          22.     Defendants’ ongoing violations of the General Permit and the CWA have and will
 5   continue to cause irreparable harm to Plaintiff and its current standing members.
 6          23.     The relief requested herein will redress the ongoing injury in fact to Plaintiff and
 7
     its members.
 8
            24.     Neither litigation of the claims asserted, nor the relief requested in this Complaint,
 9
     will require the participation in this lawsuit of any individual members of EDEN.
10
                             V. STATUTORY BACKGROUND
11
            25.     Congress declared that the Federal Clean Water Act was designed to restore and
12
     maintain the chemical, physical, and biological integrity of the Nation’s waters through federal
13
     and state cooperation to develop and implement programs for preventing, reducing, or
14
     eliminating the pollution of navigable waters and ground waters. 33 U.S.C. §§ 1251(a), 1252(a)
15
            26.     Section 301(a) of the Act, 33 U.S.C. § 1311(a), prohibits the discharge of any
16
     pollutant into Waters of the United States, unless such discharge is in compliance with various
17
     enumerated sections of the Act. Among other things, Section 301(a) prohibits discharges not
18
     authorized by, or in violation of, the terms of an NPDES permit issued pursuant to Section 402
19
     of the Act. 33 U.S.C. § 1342
20
            27.     Section 402(p) of the Act establishes a framework for regulating municipal and
21
     industrial storm water discharges under the NPDES program. 33 U.S.C. § 1342(p). States with
22
     approved NPDES permit programs are authorized by Section 402(p) to regulate industrial storm
23

24
     water discharges through individual permits issued to Dischargers or through the issuance of a

25
     single, statewide general permit applicable to all industrial storm water Dischargers. 33 U.S.C. §

26   1342(p)

27

28




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 1          28.     Pursuant to Section 402 of the Act, 33 U.S.C. § 1342, the Administrator of the
 2   U.S. EPA has authorized California’s State Water Resources Control Board to issue NPDES
 3   permits, including general NPDES permits in California.
 4          Citizen Suit Provision of the CWA
 5          29.     Under the CWA, any citizen may commence a civil action against any person
 6   who is alleged to be in violation of an effluent standard or limitation under the CWA or an Order
 7
     issued by a State with respect to such a standard or limitation. 33 U.S.C. §1365(a)(1)
 8
            30.     No action may be commenced prior to sixty days after the plaintiff has given
 9
     notice of the alleged violation to: (i) the Administrator of the EPA; (ii) the State in which the
10
     alleged violation occurs; and (iii) any alleged violator of the standard, limitation, or order. 33
11
     U.S.C. § 1365(b)(1)(A)
12
            31.     By including a citizen suit provision in the CWA, Congress ensured that the
13
     purposes and requirements of the CWA would be enforced, either by the United States
14
     government or by concerned citizens.
15
            32.     In furtherance of the water preservation goals established by the CWA, the citizen
16
     suit provision confirms the District Court’s jurisdiction to apply any appropriate civil penalties
17
     under section 1319(d). 33 U.S.C. § 1365(a). Section 1319(d) declares that any person who
18
     violates any permit condition or limitation implementing any of such sections in an NPDES
19
     permit shall be subject to a civil penalty not to exceed $46,192.00 per day for each violation
20
     occurring before November 2, 2015, $56,460.00 per day per violation for violations occurring
21
     after November 2, 2015; and $57,617.00 per day per violation for violations occurring after
22
     November 2, 2015. 33 U.S.C. § 1319(d); 40 C.F.R. § 19.4; General Permit XXI(Q(1)
23

24
            33.     Violations of the provisions of the General Permit, including those detailed

25
     below, constitute violations of the CWA and are subject to civil penalties. General Permit § XXI;

26   33 U.S.C. §§ 1319(d), 1342; 40 C.F.R. §§ 19.1-19.4

27

28




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 1          A. General Permit
 2          34.     The Water Board elected to issue a statewide General Permit for industrial storm
 3   water discharges. Thus, the Permit under which this case arises is a federally required permit
 4   based upon California state substantive law. Southern California Alliance of Publicly Owned
 5   Treatment Works v. U.S. Environmental Protection Agency (9th Cir. 2017), 853 F.3d 1076; Dept.
 6   of Finance v. Commission on State Mandates, 1 Cal.5th 749 (2016)
 7
            35.     The Water Board originally issued the General Permit on November 19, 1991,
 8
     and modified it on September 17, 1992. The Permit was reissued on April 17, 1997, and again
 9
     on April 1, 2014 (“General Permit”), pursuant to Section 402(p) of the Clean Water Act. 33
10
     U.S.C. § 1342(p)
11
            36.     The current General Permit went into effect on July 1, 2015, after which it was
12
     amended again on November 6, 2018, with the revisions becoming effective on July 1, 2020.
13
     [See California’s Industrial General Permit, Order WQ 2014-0057-DWQ, as amended by Order
14
     WQ 2015-0122-DWQ and Order WQ 2018-0028-DWQ, which is fully incorporated herein by
15
     reference.]
16
            37.     A complete copy of the current General Permit Order is accessible at
17
     https://www.waterboards.ca.gov/water_issues/programs/storm water/igp_20140057dwq.html
18
            38.     The General Permit includes both absolute discharge prohibitions and substantive
19
     and procedural standard condition provisions.
20
            39.     To discharge storm water lawfully in California, all industrial facilities
21
     discharging, or having the potential to discharge, storm water associated with industrial activity
22
     (“Dischargers”) which have not obtained an individual NPDES permit must apply for coverage
23

24
     under the General Permit by filing Permit Registration Documents, including a Notice of Intent

25
     to Discharge Storm water (“NOI”) and an initial Storm Water Pollution Prevention Plan

26   (“SWPPP”) and Site Map.

27          40.     The specific industrial facilities required to apply for General Permit coverage are

28   identified on Attachment A to the General Permit.



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 1                  1. SMARTS Compliance Database
 2          41.     The Water Board has established an online database referred to as its Stormwater
 3   Multiple Application and Tracking System (SMARTS”). SMARTS is a platform where
 4   Dischargers enter and manage storm water data associated with General Permit compliance.
 5          42.     SMARTS is readily accessible by the general public on the web; and the system is
 6   maintained primarily for the purpose of providing public access to allow citizens to monitor
 7
     Dischargers’ compliance with the General Permit and to pursue Dischargers who fail to comply,
 8
     utilizing the citizen’s suit provision of the CWA.
 9
            43.     SMARTS can be accessed at California Stormwater Multiple Applications and
10
     Report Tracking System.
11
            44.     The General Permit requires Dischargers to certify (under penalty of law) and
12
     submit to SMARTS all Permit Registration Documents, including Notices of Intent to Discharge
13
     Storm Water, Storm Water Pollution Prevention Plans and Site Maps; monitoring and sampling
14
     data, Exceedance Response Reports and Annual Reports. General Permit §§ I(A)(17), II(A)(1),
15
     II(B)(1), II(D), XI(B)(11)(a), XXI(K), XXI(L), Attachment D.
16
                    2. Discharge Prohibitions of the General Permit
17
            45.     The discharge related prohibitions of the General Permit include Effluent
18
     Limitation V(A) of the General Permit, which requires Dischargers to reduce or prevent
19
     pollutants in their storm water discharges through implementation of the Best Available
20
     Technology Economically Achievable (“BAT”) for toxic and nonconventional pollutants and the
21
     Best Conventional Pollutant Control Technology (“BCT”) for conventional pollutants.
22
            46.     Discharge Prohibition III(C) of the General Permit prohibits storm water
23

24
     discharges and authorized non-storm water discharges that cause or threaten to cause pollution,

25
     contamination, or nuisance.

26          47.     Receiving Water Limitation VI(B) of the General Permit prohibits storm water

27   discharges to any surface or ground water that adversely impact human health or the

28   environment. Receiving Water Limitation VI(A) and Discharge Prohibition III(D) of the Permit



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 1   prohibit storm water discharges that cause or contribute to an exceedance of any applicable water
 2   quality standards contained in Statewide Water Quality Control Plans or the applicable Regional
 3   Water Board’s Basin Plan.
 4                  3. Standard Conditions of the General Permit
 5          48.     In addition to discharge prohibitions, the General Permit contains a variety of
 6   substantive and procedural standard conditions.
 7
            49.     The General Permit requires that Dischargers comply with all standard conditions
 8
     of the Permit and indicates that failure to comply with any standard condition of the General
 9
     Permit constitutes an actionable, per se violation of the CWA, which comports with the
10
     provisions of 33 U.S.C. §1365(f)(7). General Permit § XXI(A)
11

12          50.     The primary standard conditions of the General Permit include the following:
13
            (a)     Continuously maintaining an accurate, up-to-date and compliant SWPPP and Site
14                  Map; implementing all provisions of the SWPPP, and certifying and submitting
                    the SWPPP to SMARTS;
15
            (b)     Implementing and maintaining Best Management Practices;
16

17          (c)     Conducting monthly and sampling event visual observations, contemporaneously
                    completing observation reports and maintaining the reports for five years;
18
            (d)     Collecting and analyzing storm water runoff samples four times per year;
19

20          (e)     Collecting the storm water samples during qualified storm events, from all
                    discharge locations, in all drainage areas in places which are representative of
21                  industrial operations;
22
            (f)     Testing the collected storm water samples for all required parameters, using the
23                  correct EPA test methods, and the prescribed sample holding times; and reporting
                    the results to the Water Board within 30 days by certifying and submitting them to
24                  SMARTS;
25
            (g)     Conducting Annual Facility Compliance Evaluations and contemporaneously
26                  preparing and retaining evaluation reports;
27          (h)     Preparing compliant Exceedance Response Reports in the event that storm water
28                  sampling data confirms an annual exceedance of any sampling parameter within
                    the specified time limits, and certifying and submitting the reports to SMARTS;


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 1
            (i)     Preparing complete and accurate Annual Reports and certifying and submitting
 2                  them to SMARTS; and

 3          (j)     Establishing a Pollution Prevention Team of at least two on-site employees and
                    ensuring that the Team remains fully trained on all aspects of compliance with the
 4
                    General Permit.
 5

 6
                    SWPPP and Site Map Requirements
 7
            51.     All Dischargers are required to develop and implement a Storm Water Pollution
 8
     Prevention Plan.
 9
            52.     The main objective of the SWPPP requirement is to identify and evaluate sources
10
     of pollutants associated with industrial activities that may affect the quality of storm water
11
     discharges and authorized non-storm water discharges from the Discharger’s facility, and to
12
     implement best management practices (“BMPs”) to reduce or prevent pollutants associated with
13
     industrial activities in storm water discharges and authorized non-storm water discharges.
14
     General Permit § X(C). These BMPs must achieve compliance with the General Permit’s
15

16
     effluent limitations and receiving water limitations, including the BAT and BCT technology

17
     mandates.

18          53.     To ensure compliance with the General Permit, the SWPPP must be evaluated and

19   revised within ninety (90) days when there are routine revisions to be made; and within thirty

20   (30) days whenever the SWPPP requires significant revisions. General Permit § X(B)

21          54.     Failure to develop or implement an adequate SWPPP, or to update or revise an

22   existing SWPPP when necessary, is a violation of the General Permit. General Permit §§
23   I(J)(68), II(B)(3)(a), X(A), X(B), General Permit Fact Sheet § I(1)
24          55.     Among other requirements, the SWPPP must include: a detailed description of the
25   facility’s industrial processes and operations; identification of a pollution prevention team; a site
26   map; a list of industrial materials handled and stored at the site, including the locations where
27   each material is stored, received, shipped, and handled, as well as the typical quantities and
28   handling frequency; a description of potential pollutant sources; an assessment of potential


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 1   pollutant sources (specifically, whether the pollutants have the potential to commingle with
 2   storm water); a monitoring implementation plan, including a discussion of facility drainage,
 3   drainage areas, and discharge points and sampling locations; all mandatory sampling parameters;
 4   and a description of a specific mandatory set of minimum BMPs to be implemented at the
 5   facility that will reduce or prevent pollutants in storm water discharges and authorized non-storm
 6   water discharges. General Permit §§ X(A)-X(I)
 7
            56.     The General Permit also requires that SWPPPs include detailed BMP
 8
     Descriptions and a BMP Summary Table. General Permit § X(H)(4), (5)
 9
            57.     Site Maps are required to depict the following: the facility boundary, storm water
10
     drainage areas, storm water flow direction, on-site surface water bodies and/or locations of
11
     nearby water bodies, municipal storm drain inlets that receive storm water discharges, locations
12
     of storm water collection and conveyance systems, associated discharge locations, sampling
13
     locations, locations and descriptions of structural control measures, identification of all
14
     impervious areas, locations where materials are directly exposed to precipitation, locations where
15
     significant spills or leaks have occurred, and all areas of industrial activity, including industrial
16
     storage areas. General Permit § X(E)
17
                    Best Management Practices
18
            58.     The General Permit requires all Dischargers to implement and maintain the
19
     following minimum Best Management Practices to reduce or prevent pollutants in industrial
20
     storm water discharges at their facility: Good Housekeeping, Preventive Maintenance, Spill and
21
     Leak Prevention and Response, Material Handling and Waste Management, Erosion and
22
     Sediment Controls, Employee Training Program, and Quality Assurance and Record Keeping.
23

24
     General Permit § X(H)(1)

25
            59.     The General Permit further requires Dischargers to implement and maintain, to

26   the extent feasible, any one or more of the following advanced BMPs necessary to reduce or

27   prevent discharges of pollutants in industrial storm water discharges: exposure minimization

28




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 1   BMPs, storm water containment and discharge reduction BMPs, treatment control BMPs, and
 2   other advanced BMPs. General Permit § X(H)(2)
 3          60.     Failure to implement minimum and advanced BMPs as necessary to achieve
 4   compliance with either technology or water quality standards is a violation of the General
 5   Permit. General Permit Fact Sheet §I(I)(2)(o)
 6                  Monitoring and Reporting/Storm Water Sampling and Analysis
 7
            61.     The General Permit requires Dischargers to develop and implement an adequate
 8
     Monitoring and Reporting Program. The primary objective of the Monitoring and Reporting
 9
     Program is to detect and measure the concentrations of pollutants in a facility’s discharge to
10
     ensure compliance with the General Permit’s discharge prohibitions, effluent limitations, and
11
     receiving water limitations.
12
            62.     As part of their monitoring program, Dischargers must identify all storm water
13
     discharge locations that produce storm water discharges, evaluate the effectiveness of BMPs in
14
     reducing pollutant loading, and evaluate whether pollution control measures set out in the
15
     SWPPP are adequate and properly implemented.
16
            63.     Section XI(B) of the General Permit requires that Dischargers collect and analyze
17
     storm water samples from two qualifying storm events (“QSEs”) during the first half of each
18
     reporting year (July 1 to December 31) and two QSEs during the second half of each reporting
19
     year (January 1 to June 30), and that the samples be collected from all outfalls identified in the
20
     facility SWPPP.
21
            64.     A QSE is a precipitation event that produces a discharge for at least one drainage
22
     area and is preceded by 48 hours with no discharge from any drainage area. General Permit
23

24
     §XI(B)(2)

25
            65.     Once the storm water samples have been collected, the General Permit requires

26   that the Discharger deliver the samples to a qualified laboratory for analysis within 48 hours of

27   collection (General Permit, Attachment H) and upload to SMARTS the resulting laboratory

28   reports within 30 days from receipt of the report. General Permit §§ XI(B)(8), XI(B)(11)



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 1           66.      Under the General Permit, facilities must analyze storm water samples for pH, oil
 2   & grease and total suspended solids, all additional parameters indicated in the Permit by facility
 3   type (standard industrial classification code), and all parameters identified by the Discharger on a
 4   facility-specific basis that serve as indicators of the presence of all industrial pollutants identified
 5   in the pollutant source assessment. General Permit § XI(B)(6)(c)
 6           67.      Facilities are also required to conduct monthly and sampling event visual
 7
     observations. Monthly visual observations are conducting during dry weather and must include
 8
     observing each drainage area for the presence of non-storm water discharges; as well as
 9
     inspecting outdoor industrial equipment and storage areas, outdoor industrial activities areas, and
10
     all other potential sources of industrial pollutants, and monitoring BMPs for effectiveness.
11
     Sampling event visual observations are conducted at the same time as sampling occurs at a
12
     discharge location and must include observing storm water discharges for the presence or
13
     absence of floating and suspended materials, oil and grease, discolorations, turbidity, odors,
14
     trash/debris and sources of any discharge pollutants. General Permit § XI(A)
15
             68.      The US EPA has established Parameter Benchmark Values as guidelines for
16
     determining whether a facility discharging industrial storm water has implemented the requisite
17
     BAT and BCT. These benchmarks represent pollutant concentrations at which a storm water
18
     discharge could potentially impair or contribute to impairing water quality or affect human
19
     health from ingestion of water or fish.
20
             69.      The Numeric Action Levels (“NALs”) in the General Permit are derived from
21
     these benchmarks. The Permit incorporates annual NALs, which are derived from the 2008
22
     MSGP benchmark values, and instantaneous maximum NALs, which are derived from a Water
23

24
     Board dataset.

25
             70.      The NALs established under the General Permit for pollution parameters

26   applicable to all Dischargers are set forth in Table 2, which is incorporated herein by reference.

27

28




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 1                  NAL Exceedances-Exceedance Response Actions
 2          71.     An exceedance of an annual NAL occurs when the average of all samples
 3   obtained for an entire facility during a single reporting year is greater than the annual NALs,
 4   which are listed on Table 2 of the General Permit. The reporting year runs from July 1 to June
 5   30.
 6          72.     An instantaneous maximum NAL exceedance occurs when two or more analytical
 7
     results from samples taken for any single parameter within a reporting year exceed the
 8
     instantaneous maximum NAL value (for TSS and O&G) or are outside of the instantaneous
 9
     maximum NAL range for pH. General Permit §XII(A), Table 2
10
            73.     When a Discharger exceeds an applicable NAL, it is elevated to “Level 1 Status”
11
     commencing July 1 of the reporting year following the entry into Level 1 status.
12
            74.     Once a Discharger has entered Level 1 Status, by October 1 following
13
     commencement of Level 1 status, it must conduct a thorough facility evaluation with the
14
     assistance of a Qualified Industrial Stormwater Practitioner (QISP) of all drainage areas to
15
     determine the industrial pollutant sources at the facility that are or may be related to the
16
     exceedance(s), and identify the corresponding BMPs in the SWPPP and any additional BMPs
17
     and SWPPP revisions necessary to prevent future exceedances. General Permit § XIII(C)
18
            75.     By January 1 following commencement of Level 1 status, the Discharger must
19
     revise its SWPPP, implement any additional BMPs identified in the evaluation, and certify and
20
     submit to SMARTS a Level 1 Exceedance Response Action (ERA) Report. General Permit §
21
     XIII(C)
22
            76.     If a discharger exceeds an applicable NAL during Level 1 Status, it is elevated to
23

24
     “Level 2 Status.” General Permit §XII(D)

25
            77.     On January 1 of the reporting year following entry into Level 2 Status, a

26   Discharger is required to submit to SMARTS a Level 2 ERA Action Plan identifying its

27   selection of one of three options to remediate the continuing exceedances: implementation of

28   additional BMPs, a determination that the exceedance is solely due to non-industrial pollutant



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 1   sources, or a determination that the exceedance is solely due to the presence of the pollutant in
 2   the natural background. The Action Plan must also include a schedule for completion of the
 3   tasks. General Permit § XII(D)(1)
 4           78.     On January 1 of the reporting year following the submittal of the Level 2 ERA
 5   Action Plan, the Discharger is required to submit a Level 2 Technical Report demonstrating its
 6   efforts to implement the additional BMPs or confirming the non-industrial sources of the
 7
     pollutants causing the exceedances. General Permit § XII(D)(2)
 8
                     Annual Comprehensive Facility Evaluation
 9
             79.     The General Permit requires operators to conduct an Annual Comprehensive
10
     Facility Compliance Evaluation (“Annual Evaluation”) that evaluates the effectiveness of current
11
     BMPs and the need for additional BMPs based on visual observations and sampling and analysis
12
     results. General Permit § XV
13
                     Annual Reports
14
             80.     Section XVI(A) of the General Permit requires all Dischargers to certify and
15
     submit to SMARTS an Annual Report no later than July 15th following each reporting year.
16
             81.     Annual Reports are auto populated by SMARTS from Dischargers’ answers to a
17
     series of twelve questions, which require mostly yes/no responses.
18
             82.     The questions include whether the Discharger has conducted monthly visual
19
     observations, collected and analyzed the required number of storm water samples from all
20
     discharge locations at its facility; and where the facility is located within an impaired watershed,
21
     the Discharger has assessed whether any of the receiving water impairments are potential
22
     pollutants present at their facility.
23

24
             83.     Any “no” responses to the above questions require a complete and accurate

25
     explanation, certified under penalty of law.

26                   Certification of Compliance Documents

27           84.     Furthermore, Section XXI(L) of the General Permit provides that all documents

28   submitted to SMARTS, including SWPPPs and Annual Reports, be certified by a Legally



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 1   Responsible Party (LRP) or Duly Authorized Representative (DAR) of the facility, with the
 2   following certification:
 3

 4
            “I certify under penalty of law that this document and all Attachments were prepared
     under my direction or supervision in accordance with a system designed to assure that qualified
 5   personnel properly gather and evaluate the information submitted. Based on my inquiry of the
     person or persons who manage the system or those persons directly responsible for gathering the
 6   information, to the best of my knowledge and belief, the information submitted is, true, accurate,
 7
     and complete. I am aware that there are significant penalties for submitting false information,
     including the possibility of fine and imprisonment for knowing violations."
 8

 9          B. Central Valley Region Basin Plan

10          85.     The Regional Water Board has identified beneficial uses of the Central Valley
11   Region’s waters and established water quality standards for the Sacramento River and its
12   tributaries and the Sacramento-San Joaquin Delta in “The Water Quality Control Plan (Basin
13   Plan) for the California Regional Water Quality Control Board, Central Valley Region – The
14   Sacramento River Basin and The San Joaquin River Basin,” generally referred to as the Basin
15   Plan, and the “Water Quality Control Plan for the San Francisco Bay/Sacramento-San Joaquin
16   Delta Estuary.”
17
            86.     The beneficial uses of these waters include, among others, domestic and
18
     municipal supply, water contact recreation, non-contact water recreation, wildlife habitat, warm
19
     and cold freshwater habitat, and fish spawning. The non-contact water recreation use is defined
20
     as “uses of water for recreational activities involving proximity to water, but where there is
21
     generally no body contact with water, nor any likelihood of ingestion of water. These uses
22
     include, but are not limited to, picnicking, sunbathing, hiking, camping, boating. . . hunting,
23
     sightseeing, or aesthetic enjoyment in conjunction with the above activities.”
24
            87.     The Basin Plan includes a narrative toxicity standard which states that all waters
25
     shall be maintained free of toxic substances in concentrations that produce detrimental
26
     physiological responses in human, plant, animal, or aquatic life.
27

28




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 1          88.     The Basin Plan provides that water shall not contain floating material in amounts
 2   that cause nuisance or adversely affect beneficial uses.
 3          89.     The Basin Plan provides that water shall be free of discoloration that causes
 4   nuisance or adversely affects beneficial uses.
 5          90.     The Basin Plan provides that waters shall not contain suspended materials in
 6   concentrations that cause nuisance or adversely affect beneficial uses.
 7
            91.     The Basin Plan also prohibits the discharges of oil and grease, stating that waters
 8
     shall not contain oils, greases, waxes, or other materials in concentrations that cause nuisance,
 9
     result in a visible film or coating on the surface of the water or on objects in the water, or
10
     otherwise adversely affect beneficial uses.
11
            92.     The Basin Plan provides that at a minimum, water designated for use as domestic
12
     or municipal supply (MUN) shall not contain concentrations of chemical constituents in excess
13
     of the maximum contaminant levels (MCLs) specified in the following provisions of Title 22 of
14
     the California Code of Regulations, which are incorporated by reference into this plan: Tables
15
     64431-A (Inorganic Chemicals) and 64431-B (Fluoride) of Section 64431, Table 64444-A
16
     (Organic Chemicals) of Section 64444, and Tables 64449-A (Secondary Maximum Contaminant
17
     Levels-Consumer Acceptance Limits) and 64449-B (Secondary Maximum Contaminant Levels-
18
     Ranges) of Section 64449.
19
            93.     The Basin Plan provides that the pH shall not be depressed below 6.5 nor raised
20
     above 8.5; that iron levels not exceed .30 mg/L; that zinc not exceed .10 mg/L; that copper not
21
     exceed .0056 mg/L, and that cadmium not exceed .00022 mg/L.
22
            94.     The Basin Plan requires that waters shall be free of changes in turbidity that cause
23

24
     nuisance or adversely affect beneficial uses.”

25
            95.     Table III-1 of the Basin Plan provides a water quality objective (“WQO”) for iron

26   of 0.3 mg/L.

27

28




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 1                                VI. SPECIFIC FACTUAL ALLEGATIONS
 2          A. The Facility
 3          96.     AES Sunoptics, located at 6250 27th Street in Sacramento, California, is a facility
 4   that manufactures and distributes skylights and daylighting systems.
 5          97.     Plaintiff is informed and believes that the facility falls under standard industrial
 6   classification (“SIC”) code 2821-plastics materials and resin manufacturing and/or 3999-
 7
     manufacturing industries, not otherwise specified, based on public records.
 8
            98.     SIC Codes 2821 and 3999 are both included in Attachment A of the General
 9
     Permit as types of industrial operation that require application for and receipt of General Permit
10
     coverage.
11
            99.     Defendant AES Sunoptics stores and handles industrial chemicals and materials
12
     outdoors that are exposed to storm water, eroded by wind, and otherwise contaminate the
13
     surrounding watershed.
14
            100.    During rain events, storm water flows over the surface of the Facility where
15
     industrial activities occur and areas where airborne materials associated with the industrial
16
     processes at the Facility settle onto the ground.
17
            101.    Storm water flowing over these areas collects suspended sediment, dirt, metals,
18
     and other chemicals and toxic pollutants as it flows towards the Facility’s storm water channels,
19
     and discharges from the Facility into its Receiving Waters.
20
            102.    Based on the foregoing, Plaintiff alleges that Defendant AES Sunoptics is
21
     required to maintain standard General Permit coverage and is not eligible to apply for or receive
22
     either No Exposure Certification (NEC coverage) or Notice of Non-Applicability (NONA
23

24
     coverage).

25
            B. The Facility’s Receiving Waters

26          103.    Based on Plaintiff’s investigation, including but not limited to a review of the

27   Defendant AES Sunoptics’ Notice of Intent to Comply with the Terms of the Industrial General

28   Permit (“NOI”); SWPPP and Site Map, aerial photography and drone footage; federal, state and



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 1   local regulatory agency mapping tools; and eyewitness reports, storm water leaves the
 2   boundaries of Defendant’s facility and enters Morrison Creek, via both the City of Sacramento
 3   MS4 and surface flow, before discharging to the Sacramento River, a navigable Water of the
 4   United States.
 5          104.      On January 13, 2023, Defendant AES Sunoptics certified under penalty of law to
 6   the Water Board and the general public via SMARTS that storm water discharges from the
 7
     facility enter Morrison Creek. (See Exhibit B, attached hereto and incorporated herein by
 8
     reference)
 9
            105.      Plaintiff alleges that the Best Management Practices at Defendant AES Sunoptics’
10
     facility are currently inadequate to prevent the sources of contamination described above from
11
     causing the discharge of pollutants to Waters of the United States.
12
            C. Defendants’ General Permit Violations
13
            Deficient SWPPP/Failure to Follow SWPPP
14
            106.      Plaintiff alleges that since at least January 1, 2023, Defendant AES Sunoptics has
15
     failed to implement an adequate SWPPP for the facility and has failed to comply with the terms
16
     of its deficient SWPPP, in violation of the standard conditions of the General Permit. General
17
     Permit §§ I(J), II(A)(1), II(B)(1)(b), II(B)(3), X, XXI(A), XXI(K)(1), XXI(L); General Permit
18
     Fact Sheet § II(I)(1); 33 U.S.C. § 1365(f)(7)
19
            107.      Defendants’ continuing failure to implement and follow an adequate SWPPP is
20
     evidenced by documents uploaded and certified to SMARTS under penalty of law by AES
21
     Sunoptics, as well as by required documents which have not been uploaded to SMARTS.
22
            108.      Defendants’ continuing failure to implement an adequate SWPPP is also
23

24
     evidenced by eyewitness reports and inspections conducted by representatives of Plaintiff,

25
     Defendants and governmental/regulatory agencies, as well as other relevant documents

26   maintained by Defendants and governmental/regulatory agencies.

27          109.      As is more particularly described in Exhibit A, attached hereto and incorporated

28   herein by reference, Plaintiff’s Notice Letter issued to Defendants delineated numerous



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 1   deficiencies in Defendants’ SWPPP and Site Map uploaded to SMARTS on January 11, 2023
 2   (“prior SWPPP”).
 3          110.    The 60-day notice period on Plaintiff’s Notice Letter expired on November 3,
 4   2024, without either partial or full correction of any of the violations alleged in the Notice Letter.
 5          111.    In anticipation of the filing of this lawsuit, and in a last-minute attempt to moot
 6   the alleged SWPPP deficiency violation, Defendant AES Sunoptics uploaded to SMARTS a
 7
     revised SWPPP on November 27, 2024 (“current SWPPP”).
 8
            112.    Defendant AES Sunoptics’ November 27, 2024, SWPPP and Site Map remain
 9
     deficient in all the ways specified in the Notice Letter attached hereto as Exhibit A that Plaintiff
10
     alleged Defendant’s prior SWPPP dated January 11, 2023, was deficient.
11
            113.    Specifically, Defendant AES Sunoptics’ current SWPPP uploaded to SMARTS
12
     on November 27, 2024, remains deficient and out of compliance with Section X of the General
13
     Permit for failure to include the following: (a) complete and accurate Pollutant Source
14
     Assessment and Industrial Material Inventory List [violation of General Permit §§ X(F), X(G)
15
     and XI(B)(6)]; (b) all mandatory sampling parameters [violation of General Permit § XI(B)(6)];
16
     (c) sufficient detail regarding Facility operations and industrial processes [violation of General
17
     Permit § X(G)(1)]; and (d) accurate discussion and depiction of Facility drainage, discharge
18
     locations and sampling points [violation of General Permit §§ X(I) and X(G)(1)(e)].
19
            114.    Plaintiff is informed and believes, and thereupon alleges, that Defendant AES
20
     Sunoptics’ prior and current SWPPP and Site Map do not include sufficient information to
21
     comply with the mandatory elements required by Section X of the General Permit, as is more
22
     particularly described in the Notice Letter attached hereto as Exhibit A.
23

24
            115.    According to information available to Plaintiff, Defendant AES Sunoptics’ prior

25
     and current SWPPP have not been evaluated to ensure effectiveness and have not been revised as

26   required by the General Permit to reflect true conditions at the Facility and to prevent discharges

27   of contaminated storm water.

28




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 1            116.   According to information available to Plaintiff, Defendant AES Sunoptics’ prior
 2   and current SWPPP and Site Map contains misleading, false or insufficient information
 3   regarding facility operations and processes; drainage, drainage areas and storm water flow;
 4   discharge locations and mandatory sampling points; the type, amount and location of industrial
 5   materials and chemicals handled at the facility; and all mandatory required sampling parameters
 6   associated with the facility’s industrial materials and chemicals.
 7
              117.   Plaintiff alleges that Defendant AES Sunoptics’ prior and current SWPPP and
 8
     Site Map do not set forth site-specific Best Management Practices (BMPs) for the Facility that
 9
     are consistent with BAT or BCT.
10
              118.   Plaintiff is informed and believes, and thereupon alleges, that Defendant AES
11
     Sunoptics has failed and continue to fail to alter the Facility’s SWPPP/Site Map and site-specific
12
     BMPs to comply with the requirements of the General Permit.
13
              119.   In addition, Plaintiff alleges that Defendant AES Sunoptics has failed to comply
14
     with the provisions of its prior and current SWPPP in the areas of monitoring and reporting.
15
              120.   Information available to Plaintiff indicates that as a result of these practices, storm
16
     water containing excessive pollutants is being discharged during rain events into the Sacramento
17
     River.
18
              121.   Plaintiff is informed and believes, and thereupon alleges, that all the violations
19
     alleged above with respect to Defendant AES Sunoptics’ deficient SWPPP/Site Map are ongoing
20
     and continuous.
21
              Monitoring and Reporting/ Storm Water Sampling
22
              122.   Plaintiff alleges the monitoring and reporting program at Defendant AES
23

24
     Sunoptics’ facility in Sacramento is deficient and in violation of the mandatory standard

25
     conditions of the General Permit. General Permit §§ X, X(I), XI, XXI(A); General Permit Fact

26   Sheet §§ II(I)(3)(a)(iii); 33 U.S.C. § 1365(f)(7)

27

28




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 1           123.   Defendant AES Sunoptics’ deficient monitoring and reporting program is
 2   evidenced by documents uploaded and certified to SMARTS under penalty of law by Defendant,
 3   as well as by required documents which have not been uploaded to SMARTS.
 4           124.   Defendant AES Sunoptics’ deficient monitoring and reporting program is also
 5   evidenced by eyewitness reports and inspections conducted by representatives of Plaintiff,
 6   Defendants and government agencies, as well as other relevant documents maintained by
 7
     Defendants and governmental and regulatory agencies.
 8
             125.   Since January 1, 2023, Defendant AES Sunoptics has failed to collect and analyze
 9
     two storm water samples from the first half of each reporting year, and two storm water samples
10
     from the second half of each reporting year, as required by General Permit §XI(B).
11
             126.   In addition, Defendant AES Sunoptics has failed to conduct monthly visual
12
     observations and stormwater sampling visual observations at the facility since at least January 1,
13
     2023.
14
             127.   Defendant AES Sunoptics has also collected samples of storm water discharges at
15
     the facility that failed to comply with the General Permit’s requirement that samples be preceded
16
     by a 48-hour period without a discharge, as is more particularly described in the Notice Letter
17
     attached hereto as Exhibit A.
18
             128.   Defendant AES Sunoptics has failed to collect storm water samples from each
19
     drainage area at all discharge locations at its facility, for each QSE where sampling is performed,
20
     pursuant to General Permit § XI(B), as is more particularly described in the Notice Letter
21
     attached hereto as Exhibit A.
22
             129.   Defendant AES Sunoptics has failed to analyze the facility’s storm water samples
23

24
     for all required parameters, in violation of Section XI(B)(6) of the General Permit, as is more

25
     particularly described in the Notice Letter attached hereto as Exhibit A.

26           130.   Defendant AES Sunoptics has failed to deliver the facility storm water samples to

27   a qualified Laboratory within 48 hours of collection, pursuant to Attachment H, Section 2 of the

28




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 1   General Permit, as is more particularly described in the Notice Letter attached hereto as Exhibit
 2   A.
 3           131.    Defendant AES Sunoptics has failed to upload facility storm water sample
 4   analyses within 30 days of obtaining the results of the sampling event, in violation of Section
 5   XI(B)(11) of the General Permit, as is more particularly described in the Notice Letter attached
 6   hereto as Exhibit A.
 7
                     Incomplete/False Ad Hoc Monitoring Reporting
 8
             132.    Since January 1, 2023, Defendant AES Sunoptics has failed to submit complete
 9
     and accurate Ad Hoc Monitoring Reports to the Water Board in violation of General Permit §
10
     XI(B), as is more particularly described in the Notice Letter attached hereto as Exhibit A.
11
             133.    Defendants’ monitoring and reporting violations are continuous and ongoing at
12
     the facility.
13
                     Falsification of Documents Submitted to the Water Board via SMARTS
14
             134.    Since January 1, 2023, Defendant AES Sunoptics has submitted to the Water
15
     Board inaccurate and/or falsified Annual Reports, as well as a false Representative Sampling
16
     Reduction certificate, in violation of the standard conditions of the General Permit, as is more
17
     particularly described in the Notice Letter attached hereto as Exhibit A and incorporated herein
18
     by reference. General Permit §§ II(A)(1), XI(A)(C), XVI, XXI(K), XXI(L), XXI(N); General
19
     Permit Fact Sheet § II(O); 33 U.S.C. § 1365(f)(7)
20
             135.    Defendants’ submission of false reports and certifications and continuing failure
21
     to retract its false statements to the Water Board and the general public is evidenced by
22
     documents uploaded and certified to SMARTS under penalty of law by Defendant AES
23

24
     Sunoptics.

25
             136.    Defendants’ submission of false Annual Reports is also evidenced by eyewitness

26   reports and inspections conducted by representatives of Plaintiff, Defendants and

27   governmental/regulatory agencies, as well as other relevant documents maintained by

28




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 1   Defendants and governmental/regulatory agencies, including the National Oceanic and
 2   Atmospheric Association (NOAA).
 3          137.    Defendants’ submission of false statements to the Water Board and the general
 4   public is ongoing and continuous.
 5          Failure to Implement BAT/BCT; BMP Deficiencies
 6          138.    Since at least January 1, 2023, Defendant AES Sunoptics has failed to identify
 7
     and implement Best Management Practices (“BMPs”) at the Facility which comply with the
 8
     requirements of the General Permit for best conventional treatment (BCT) for conventional
 9
     pollutants, and best available technology (BAT) for toxic and non-conventional pollutants.
10
            139.    These technology-based pollution controls are required to be implemented in a
11
     manner that reflects best industry practice considering technological availability and economic
12
     practicability and achievability.
13
            140.    Defendants’ failure to implement proper minimum BMPs is in violation of the
14
     standard conditions of the General Permit. General Permit §§ I(C), V(A), X, XXI(A); General
15
     Permit Fact Sheet §§ II(I)(2)(o); 33 U.S.C. § 1365(f)(7)
16
            141.    Defendant AES Sunoptics’ BMP deficiencies are evidenced by documents
17
     uploaded and certified to SMARTS under penalty of law by Defendant AES Sunoptics, as well
18
     as by required documents which have not been uploaded to SMARTS.
19
            142.    Defendant AES Sunoptics’ BMP deficiencies are also evidenced by eyewitness
20
     reports and inspections conducted by representatives of Plaintiff, Defendants and
21
     governmental/regulatory agencies, as well as other relevant documents maintained by
22
     Defendants and governmental/regulatory agencies, including the National Oceanic and
23

24
     Atmospheric Association (NOAA).

25
            143.    Defendant AES Sunoptics’ BMP deficiencies are more particularly described in

26   the Notice Letter attached hereto as Exhibit A and incorporated herein by reference.

27

28




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 1          144.    Information available to Plaintiff indicates that as a result of these practices, storm
 2   water containing excessive pollutants is being discharged during rain events from the facility to
 3   the Sacramento River.
 4                  Failure to Comply with Required Exceedance Response Actions
 5          145.    Since January 1, 2023, Defendant AES Sunoptics has failed to comply with
 6   required Exceedance Response Actions, in violation of both the discharge prohibition and
 7
     standard conditions of the General Permit. General Permit §§ I(D), I(C), I(K)(70), I(K)(77), III,
 8
     V(A), VI, X, X.I, XI, XII, XXI(A); 33 U.S.C. § 1365(f)(7)
 9
            146.    Defendant AES Sunoptics’ failure to comply with the General Permit’s required
10
     Exceedance Response Actions is evidenced by documents uploaded and certified to SMARTS
11
     under penalty of law by Defendant AES Sunoptics, as well as by required documents which have
12
     not been uploaded to SMARTS.
13
            147.    On July 1, 2023, Defendant AES Sunoptics was elevated to Level 1 Status for
14
     exceedances of Aluminum and Magnesium, which occurred during the prior reporting year.
15
            148.    Pursuant to Section XII of the General Permit, Defendant AES Sunoptics’ Level 1
16
     Exceedance Response Action (ERA) Report was due to be prepared and uploaded into SMARTS
17
     by January 1, 2024.
18
            149.    While the Level 1 ERA Report first became due on January 1, /2024, Defendant
19
     AES Sunoptics’ obligation to prepare and upload a compliant ERA Report to SMARTS has
20
     never been extinguished.
21
            150.    As is evidenced by Section I(K)(77) of the General Permit and the Compliance
22
     Flow Chart extracted from the General Permit (incorporated herein by reference), failure to
23

24
     submit a compliant Level 1 ERA Report following annual average exceedances of any sampling

25
     parameter is a per se violation of the General Permit that continues until the required Report is

26   prepared and submitted to SMARTS.

27          151.    To date, Defendant AES Sunoptics has failed to prepare and submit to SMARTS

28   a Level 1 ERA Report, which Plaintiff alleges is a continuing ongoing violation of both the



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 1   discharge prohibitions and the standard conditions of the General Permit, which violations
 2   Plaintiff alleges have been in effect since
 3           Discharges of Contaminated Storm Water
 4           152.    Since at least January 1, 2023, Defendant AES Sunoptics has discharged
 5   contaminated storm water from its facility in violation of the absolute discharge provisions and
 6   the standard conditions of the General Permit, as is more particularly described herein, as well as
 7
     in the Notice Letter attached hereto as Exhibit A and incorporated herein by reference. General
 8
     Permit §§ I(D), I(C), I(K)(77), III, V(A), VI, X, X.I, XI, XXI(A); General Permit Fact Sheet §§
 9
     II(I)(3)(a)(iii), II(I)(2)(o), II(K)(2)(b); 33 U.S.C. § 1365(f)(7)
10
             153.    Defendants’ discharges of contaminated storm water in violation of the General
11
     Permit are evidenced by documents uploaded and certified to SMARTS under penalty of law by
12
     Defendant AES Sunoptics, as well as by required documents which have not been uploaded to
13
     SMARTS.
14
             154.    Defendants’ discharges of contaminated storm water in violation of the General
15
     Permit are also evidenced by eyewitness reports and inspections conducted by representatives of
16
     Plaintiff, Defendants and governmental/regulatory agencies, as well as other relevant documents
17
     maintained by Defendants and governmental/regulatory agencies, including the National Oceanic
18
     and Atmospheric Association (NOAA).
19
             155.    Information available to Plaintiff indicates that unauthorized non-storm water
20
     discharges occur at the Facility due to inadequate BMP development and/or implementation
21
     necessary to prevent these discharges, as is more particularly described in the Notice Letter
22
     attached hereto as Exhibit A and incorporated herein by reference.
23

24
             156.    Due to the nature of the operations at Defendant AES Sunoptics’ facility, coupled

25
     with the documented lack of proper BMP implementation and unauthorized non-storm water

26   discharges, Defendants is discharging storm water containing excessive levels of pollutants

27   specific to its operation during at least every significant local rain event.

28




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 1           157.     Defendants has repeatedly failed and refused to include accurate information in
 2   the Facility’s SWPPP regarding industrial operations, processes and materials, as well as
 3   locations where sampling and monitoring are required; and Defendant AES Sunoptics has failed
 4   to test Facility storm water runoff samples for all required parameters, resulting in unmonitored
 5   pollutants freely flowing from the Facility into the Sacramento River and its tributaries.
 6           158.     Specifically, Plaintiff is informed and believes, and on that basis alleges, that the
 7
     unmonitored pollutants being discharged by the Facility include Aluminum, Magnesium,
 8
     Chromium, Cadmium, Copper, Lead, Chemical Oxygen Demand (COD) and Zinc.
 9
             159.     In addition, Defendant AES Sunoptics’ self-monitoring Ad Hoc Reports evidence
10
     certified and submitted to SMARTS evidence exceedances of monitored parameters, including
11
     Aluminum, Magnesium, Total Suspended Solids, Copper, Zinc, pH and Cadmium, as is more
12
     particularly described in Plaintiff’s Notice Letter attached hereto as Exhibit A.
13
             160.     While exceedances of the Numeric Action Limits set forth in Table 2 of the
14
     General Permit are not in and of themselves violations of the General Permit, when coupled with
15
     BMP deficiencies and/or violations of the required Exceedance Response Actions, the
16
     exceedances are transformed into per se violations of the General Permit. (See Compliance
17
     Flowchart; General Permit §§ I(K)(70), I(K)(77), V(A), XII; General Permit Fact Sheet §§
18
     II(I)(3)(a)(iii), II(I)(2)(o), II(K)(2)(b)
19
             161.     As set forth above, Defendant AES Sunoptics has failed to comply with required
20
     Exceedance Response Actions and has failed to implement and maintain required Best
21
     Management Practices.
22
             162.     Defendants’ discharges of contaminated storm water in violation of the General
23

24
     Permit is ongoing and continuous.

25
             Failure to Train Employees

26           163.     Since at least January 1, 2023, Defendant AES Sunoptics has failed to implement

27   and train a Pollution Prevention Team at the facility, in violation of the standard conditions of

28




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 1   the General Permit. General Permit §§, I(K)(70), I(K)(77), I(I)(63), IX(A)(3), X(D), XXI(A),
 2   33 U.S.C. 1365(f)(7)
 3          164.    The General Permit requires all Dischargers to designate a Legally Responsible
 4   Person to implement the requirements of the Permit. The Legally Responsible Person is
 5   responsible for appointing a Pollution Prevention Team and ensuring that the Team is properly
 6   trained in at least the following minimum requirements: BMP implementation, BMP
 7
     effectiveness evaluations, visual observations, and monitoring activities.
 8
            165.    Defendants’ failure to implement and train a Pollution Prevention Team in
 9
     violation of the General Permit is evidenced by documents uploaded and certified to SMARTS
10
     under penalty of law by Defendant AES Sunoptics, as well as by required documents which have
11
     not been uploaded to SMARTS.
12
            166.    Defendants’ failure to implement and train a Pollution Prevention Team in
13
     violation of the General Permit is also evidenced by eyewitness reports and inspections
14
     conducted by representatives of Plaintiff, Defendants and governmental/regulatory agencies, as
15
     well as other relevant documents maintained by Defendants and governmental/regulatory
16
     agencies.
17
            167.    Defendants’ failure to implement and train a Pollution Prevention Team in
18
     violation of the General Permit is also evidenced by Defendants’ ongoing and continuing
19
     General Permit violations.
20
            168.    Other evidence of Defendants’ failure to implement and train a Pollution
21
     Prevention Team includes the fact that previously designated Team Members have left the
22
     Facility and have been replaced without being trained, as well as that some of the designated
23

24
     Pollution Prevention Team Members are regional employees not assigned to work at the

25
     Sacramento AES Sunoptics Facility.

26          169.    In addition, Defendants was required to have a Qualified Industrial Stormwater

27   Practitioner (QISP) conduct training of the Facility’s Pollution Prevention Team after it entered

28   Level 1 Status on July 1, 2023, and to date has failed to do so.



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 1          170.    Defendants’ failure to implement and train a Pollution Prevention Team in
 2   violation of the General Permit is ongoing and continuous.
 3
            D. Informational Injuries Caused by Defendants’ General Permit Violations
 4
            171.    In addition to harming the aesthetic and recreational interests of Plaintiff’s
 5
     members with standing in this matter, Defendants’ violations of the standard conditions of
 6
     California’s Industrial General Permit have caused informational injuries to EDEN’s standing
 7
     members by depriving these members of their substantive constitutional and statutory rights to
 8

 9
     obtain information regarding Defendants’ compliance with standard conditions of California’s

10
     Industrial General Permit, which provisions have been instituted by relevant regulatory agencies

11   for the purposes of protecting the Waters of the United States.

12          172.    As set forth in more detail herein, Defendants has failed and refused to comply

13   with all mandatory standard conditions of the General Permit, including maintaining a deficient

14   SWPPP which includes objectively false information related to drainage, outdoor handling of

15   industrial materials and storm water flow/sampling locations; failing to collect and analyze the
16   required number of storm water samples; failing to test storm water samples for the proper
17   parameters; and providing incomplete and false information in Annual Reports.
18          173.    Defendants’ failure to comply with the standard conditions of the General Permit
19   as set forth above have prevented Plaintiff’s members with Article III standing from: (a)
20   accessing on SMARTS the true operational facts relevant to Defendants’ facility; and (b)
21   acquiring accurate and complete data related to the unmonitored pollutants emanating from
22   Defendants’ facility during rain events and discharging into the facility’s Receiving Waters.
23
            174.    As such, Plaintiff’s members with Article III standing are unable to fully assess
24
     the extent of Defendants’ General Permit violations, as well as the types and levels of pollutants
25
     entering the affected waterways due to Defendants’ willful violations of the standard conditions
26
     of the General Permit; or to even gauge the potential health ramifications to themselves should
27
     they continue to recreate in the affected waterways.
28




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                                        FIRST CAUSE OF ACTION
 1
                           Failure to Prepare, Implement, Review, and Update
 2                        an Adequate Storm Water Pollution Prevention Plan
                     (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
 3                                          [Against All Defendants]
 4
            175.     Plaintiff re-alleges and incorporates all the preceding paragraphs as if fully set
 5
     forth herein.
 6
            176.     The General Permit requires dischargers of storm water associated with industrial
 7

 8
     activity to develop and implement an adequate SWPPP, including a Site Map.

 9
            177.     As outlined herein, Defendants have failed to develop and implement an adequate

10   SWPPP for Defendant AES Sunoptics’ facility.

11          178.     Each day since January 1, 2023 that Defendants have failed to develop,

12   implement and update an adequate SWPPP for the facility is a separate and distinct violation of

13   the General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a), against all Defendants.

14          179.     These violations are ongoing and continuous as of the date of the filing of this
15   complaint, due to Defendants’ continued failure to develop, implement and upload to SMARTS
16   a compliant SWPPP and Site Map.
17

18
                                      SECOND CAUSE OF ACTION
                                     Failure to Develop and Implement an
19                               Adequate Monitoring and Reporting Program
                     (Violation of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
20                                         [Against All Defendants]
21
            180.     Plaintiff re-alleges and incorporates all the preceding paragraphs as if fully set
22

23
     forth herein.

24
            181.     The General Permit requires Dischargers of storm water associated with industrial

25   activity to have developed and be implementing a monitoring and reporting program (including

26   sampling and analysis of discharges) that complies with the terms of the General Permit.

27          182.     As outlined herein, Defendants have failed to develop and implement an adequate

28   monitoring and reporting program for the AES Sunoptics facility.


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 1          183.      Each day since at least January 1, 2023, that Defendants have failed to develop
 2   and implement an adequate monitoring and reporting program for Defendant AES Sunoptics’
 3   facility in violation of the General Permit is a separate and distinct violation of the General
 4   Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a).
 5          184.      These violations are ongoing and continuous as of the date of the filing of this
 6   complaint, due to Defendants’ continued failure to develop and implement a compliant
 7
     monitoring and reporting program.
 8

 9                                      THIRD CAUSE OF ACTION
                   Submission of Incomplete and False Annual Reports and Certifications to the
10                                  Regional Water Board and General Public
11
                      (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
                                             [Against All Defendants]
12

13          185.      Plaintiff re-alleges and incorporates all the preceding paragraphs as if fully set

14   forth herein.
             186.     Section XVI of the General Permit requires that Annual Reports and
15

16   Certifications submitted to SMARTS be certified under penalty of law, pursuant to Section

17   XXI(L), which provides significant penalties for submitting false information. As delineated
18
     herein, Defendant AES Sunoptics made false representations in the Facility’s Annual Reports
19
     and Sampling Frequency Reduction certification and have failed to correct or retract the false
20
     statements.
21

22
            187.      Furthermore, Defendants have submitted incomplete Annual Reports and Ad Hoc
23
     Monitoring Reports, in violation of General Permit Sections XI(B) and XVI.
24
            188.      Each time since January 1, 2023, that Defendants submitted false or misleading
25
     statements to the Water Board under penalty of perjury is a separate and distinct violation of the
26
     General Permit and Section 301(a) of the Act. 33 U.S.C. § 1311(a)
27

28




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 1          189.    These violations are ongoing and continuous as of the date of the filing of this
 2   complaint, due to Defendants’ failure to withdraw any of the false and/or incomplete Reports
 3   submitted to the Water Board.
 4

 5                                   FOURTH CAUSE OF ACTION
                                 Failure to Implement the Best Available and
 6                                Best Conventional Treatment Technologies
                    (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
 7
                                           [Against All Defendants]
 8

 9
            190.    Plaintiff re-alleges and incorporates all the preceding paragraphs as if fully set

10   forth herein. The General Permit’s SWPPP requirements and Effluent Limitation V(A) of the

11   General Permit require Dischargers to reduce or prevent pollutants in their storm water

12   discharges through implementation of Best Management Practices (BMPs), including Best

13   Available Treatment (BAT) for toxic and nonconventional pollutants and Best Conventional

14   Treatment (BCT) technologies for conventional pollutants.
15          191.    As alleged herein, Defendants have failed to implement BAT and BCT at the
16   AES Sunoptics facility for discharges of pollutants, in violation of Effluent Limitation V(A) of
17   the General Permit.
18          192.    As alleged herein, Defendants have failed to implement the required minimum
19   Best Management Practices at the AES Sunoptics facility.
20          193.    Each day since at least January 1, 2023, that Defendants failed to implement the
21   required minimum BMPs and to develop and implement BAT and BCT in violation of the
22
     General Permit is a separate and distinct violation of the General Permit and Section 301(a) of
23
     the Act. 33 U.S.C. § 1311(a)
24
            194.    These violations are ongoing and continuous as of the date of the filing of this
25
     complaint, due to Defendants’ continued failure to develop, implement and maintain adequate
26
     BMPs at its Facility.
27

28




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                                          FIFTH CAUSE OF ACTION
 1
                                     Discharges of Contaminated Storm Water
 2                                 in Violation of Permit Conditions and the Act
                                       (Violations of 33 U.S.C. §§ 1311, 1342)
 3                                            [Against All Defendants]
 4
             195.    Plaintiff re-alleges and incorporates all of the preceding paragraphs as if fully set
 5
     forth herein.
 6
             196.    Discharge Prohibition III(C) of the General Permit prohibits storm water
 7

 8
     discharges and authorized non-storm water discharges that cause or threaten to cause pollution,

 9
     contamination, or nuisance.

10           197.    Receiving Water VI(B) of the General Permit prohibits storm water discharges to

11   any surface or ground water that adversely impact human health or the environment. Receiving

12   Water Limitation VI(A) and Discharge Prohibition III(D) of the Permit prohibit storm water

13   discharges that cause or contribute to an exceedance of any applicable water quality standards

14   contained in Statewide Water Quality Control Plan or the applicable Regional Board’s Basin
15   Plan.
16           198.    Plaintiff is informed and believes, and thereupon alleges, that since at least
17   January 1, 2023, Defendant AES Sunoptics has been discharging polluted storm water from its
18   facility, in excess of applicable water quality standards in violation of Receiving Water
19   Limitation VI(A) and Discharge Prohibition III(D) of the General Permit.
20           199.    During every rain event, storm water flows freely over exposed materials, waste
21   products, and other accumulated pollutants, becoming contaminated with pollutants associated
22
     with the industrial activity occurring at Defendant AES Sunoptics’ facility. The polluted storm
23
     water then flows untreated into the Sacramento River.
24
             200.    Plaintiff is informed and believes, and thereupon alleges, that these discharges of
25
     contaminated storm water are causing or contributing to the violation of the applicable water
26
     quality standards in a Statewide Water Quality Control Plan and/or the applicable Regional
27
     Board’s Basin Plan, in violation of Receiving Water Limitations of the General Permit.
28




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 1          201.     Plaintiff is informed and believes, and thereupon alleges, that these discharges of
 2   contaminated storm water are adversely affecting human health and the environment in violation
 3   of Receiving Water Limitations of the General Permit. Furthermore, discharges of pollutants in
 4   excess of EPA benchmark values set forth in Table 2 of the General Permit are in violation of the
 5   General Permit when either (a) the Discharger has failed to comply with required Exceedance
 6   Response Actions; and/or (b) the Discharger has failed to implement and maintain required Best
 7
     Management Practices. Compliance Flowchart; General Permit §I(K)77)
 8
            202.     As alleged herein, Defendants have failed to comply with required Exceedance
 9
     Response Actions and failed to implement and maintain required Best Management Practices at
10
     Defendant AES Sunoptics’ facility.
11
            203.     Every day since at least January 1, 2023, that Defendants have discharged and
12
     continue to discharge polluted storm water from Defendant AES Sunoptics’ facility in violation
13
     of the General Permit is a separate and distinct violation of Section 301(a) of the Act. 33 U.S.C.
14
     § 1311(a)
15
            204.     These violations are ongoing and continuous as of the date of the filing of this
16
     complaint, due to Defendants’ continued failure to develop, implement and maintain adequate
17
     minimum BMPs at its Facility; failure to comply with required monitoring and reporting
18
     provisions of the General Permit; and failure to prepare and upload to SMARTS a compliant
19
     Level 1 Exceedance Response Report.
20

21
                                        SIXTH CAUSE OF ACTION
22                      Failure to Comply with Required Exceedance Response Actions
                     (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
23                                          [Against All Defendants]
24
            205.     Plaintiff re-alleges and incorporates all of the preceding paragraphs as if fully set
25
     forth herein.
26

27

28




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 1          206.     The General Permit requires that all Dischargers who enter Level 1 or Level 2
 2   status comply with specific Exceedance Response Actions delineated in Section XII of the
 3   General Permit.
 4          207.     As herein alleged, Defendants have failed to date to comply with the Exceedance
 5   Response Actions required by the General Permit.
 6          208.     Each day since January 1, 2023 that Defendants have failed to comply with the
 7
     Exceedance Response Actions required by the General Permit is a separate and distinct violation
 8
     of the General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a).
 9
            209.     This violation is ongoing and continuous as of the date of the filing of this
10
     complaint, due to Defendant AES Sunoptics’ continued failure to prepare and upload to
11
     SMARTS a Level 1 Exceedance Response Report, which violation renews every day until the
12
     Report has been submitted.
13                                  SEVENTH CAUSE OF ACTION
                 Failure to Properly Train facility Employees and Pollution Prevention Team
14
                    (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
15                                        [Against All Defendants]

16
            210.     Plaintiff re-alleges and incorporates all of the preceding paragraphs as if fully set
17
     forth herein.
18
            211.     Section X(D)(1) of the General Permit requires each facility to establish a
19
     Pollution Prevention Team responsible for implementing the requirements of the General Permit.
20
     The facility is also required to identify alternate team members to implement the SWPPP and
21
     conduct required monitoring when the regularly assigned Pollution Prevention Team members
22
     are temporarily unavailable (due to vacation, illness, out of town business, or other absences).
23
            212.     Section X(H)(f) of the General Permit also requires that Dischargers ensure that
24
     all Pollution Prevention Team members implementing the various compliance activities of the
25

26
     General Permit are properly trained.

27

28




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 1           213.    Since at least January 1, 2023, Defendants have failed to properly implement and
 2   train a Pollution Prevention Team at Defendant AES Sunoptics’ facility, which has resulted in
 3   the General Permit violations alleged herein. These violations are ongoing and continuous.
 4

 5                                             RELIEF REQUESTED

 6
             WHEREFORE, Plaintiff respectfully requests that the Court enter judgment providing
 7
     the following relief:
 8

 9           1.      Declare Defendants to have violated and to be in violation of the CWA;
10           2.      Issue an injunction ordering Defendants to immediately operate the AES
11   Sunoptics facility in compliance with the NPDES permitting requirements contained in the
12   General Permit and the CWA;
13           3.      Enjoin Defendants from discharging pollutants to the surface waters surrounding
14
     its facility until such time as Defendant AES Sunoptics has developed and implemented an
15
     adequate SWPPP and implemented appropriate BMPs;
16
             4.      Order Defendants to pay civil penalties of $57,617.00 per day/per violation for
17
     each violation of the Act pursuant to 33 U.S.C. §§ 1319(d), 1365(a) and 40 C.F.R. §§ 19.1, 19.2-
18
     19.4;
19
             5.      Order Defendants to take appropriate actions to restore the quality of United
20
     States waters impaired by activities at its facility;
21
             6.      Order Defendants to pay Plaintiff’s reasonable attorneys’ fees and costs
22
     (including expert witness fees), as provided by 33 U.S.C. § 1365(d) and applicable California
23
     law; and;
24

25

26

27

28




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 1   8.    Award such other and further relief as may be just and proper.
 2

 3
     Dated: February 4, 2025                    Respectfully,

 4

 5                                              By: __ /S/_Adam D. Brumm___________
 6
                                                    Adam D. Brumm
                                                   Attorney for Plaintiff
 7

 8

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                     EXHIBIT A
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                                      EDEN
              Central Valley   Eden Environmental Defenders

September 4, 2024

Via US Mail, Certified and Email

Grant Gable        Email: grant.grable@aessunoptics.com
Facility Manager
AES Sunoptics
6250 27th Street
Sacramento, CA 95822

Via US Mail

C T Corporation System
Agent for AES Sunoptics, Inc.
330 North Brand Boulevard, Suite #700
Glendale, CA 91203

Vikram Wasu
A-1 Distributing, Incorporated
6945 Power Inn Road
Sacramento, CA 95828

Re:    60-Day Notice of Violations and Intent to File Suit Under the Federal Water
       Pollution Control Act (“Clean Water Act”)

To Officers, Directors, Operators, Property Owners and/or Facility Managers of AES Sunoptics:

        This letter is being sent to you on behalf of Central Valley Eden Environmental
Defenders, LLC (“EDEN”) to give legal notice that EDEN intends to file a civil action against
AES Sunoptics, Inc., (“Discharger” or “AES Sunoptics”), A-1 Distributing Incorporated
(“Property Owner”), and the respective corporate officers and other legally responsible parties
for violations of the Federal Clean Water Act (“CWA” or “Act”) 33 U.S.C. § 1251 et seq., that
EDEN believes are occurring at the AES Sunoptics facility located at 6250 27th Street in
Sacramento, California (“the Facility” or “the site”).

        EDEN is an environmental citizen’s group established under the laws of the State of
California to protect, enhance, and assist in the restoration of all rivers, creeks, streams, sloughs,
lakes and tributaries of California, for the benefit of its ecosystems and communities.



1520 E. Covell Blvd #B5                              Telephone: (800) 545-7215
Davis, CA 95616                                      Email: admin@edendefenders.org
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                                                                      60-Day Notice of Intent to Sue
                                                                                    AES Sunoptics
                                                                                September 4, 2024
                                                                                       Page 2 of 26


        As discussed below, the Facility’s discharges of pollutants degrade water quality and
harm aquatic life in the Facility’s Receiving Waters, which are waters of the United States and
are described in Section II.B, below. Some of EDEN’s members live, work, and/or recreate near
the Receiving Waters and use and enjoy the Receiving Waters for kayaking, canoeing, camping,
fishing, duck hunting, boating, swimming, hiking, cycling, bird watching, picnicking, viewing
wildlife, and/or engaging in scientific study.

       At least one of EDEN’s current members has standing to bring suit against AES
Sunoptics, as the unlawful discharge of pollutants from the Facility as alleged herein has had an
adverse effect particular to him or her and has resulted in actual harm to the specific EDEN
member(s).

        Further, the Facility’s discharges of polluted storm water and non-storm water are
ongoing and continuous. As a result, the interests of certain individual EDEN members have
been, are being, and will continue to be adversely affected by the failure of AES Sunoptics to
comply with the General Permit and the Clean Water Act.

       CWA section 505(b) requires that sixty (60) days prior to the initiation of a civil action
under CWA section 505(a), a citizen must give notice of intent to file suit. 33 U.S.C. § 1365(b).
Notice must be given to the alleged violator, the U.S. Environmental Protection Agency
(“EPA”), and the EPA in the state in which the violations occurred or are occurring.

        As required by CWA section 505(b), this Notice of Violation and Intent to File Suit
provides notice to the Discharger of the violations which have occurred and continue to occur at
the Facility. After the expiration of sixty (60) days from the date of this Notice of Violation and
Intent to File Suit, EDEN reserves the right to file suit in federal court against AES Sunoptics
under CWA section 505(a) for the violations described more fully below, if this matter cannot be
resolved.

       I.      THE SPECIFIC STANDARD, LIMITATION OR ORDER VIOLATED

        EDEN’s investigation of the Facility has uncovered significant, ongoing, and continuous
violations of the CWA and the General Industrial Storm Water Permit issued by the State of
California (NPDES General Permit No. CAS000001 [State Water Resources Control Board
(“SWRCB”)] Water Quality Order No. 2014-0057-DWQ as amended by Orders 2015-0122-
DWQ and 2018-0028-DWQ) (hereinafter “General Permit”).

        Information available to EDEN, including documents obtained from California EPA’s
online Storm Water Multiple Application and Reporting Tracking System (“SMARTS”),
indicates that on or around January 13, 2023, AES Sunoptics submitted a Notice of Intent
(“NOI”) to be authorized to discharge storm water from the Facility under the General Permit
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                                                                      60-Day Notice of Intent to Sue
                                                                                    AES Sunoptics
                                                                                September 4, 2024
                                                                                       Page 3 of 26

effective July 1, 2015. AES Sunoptics’ assigned Waste Discharger Identification number
(“WDID”) is 5S34I030077.

        As more fully described in Section III, below, EDEN alleges that in its operations of the
Facility, AES Sunoptics has committed ongoing violations of the substantive and procedural
requirements of the Federal Clean Water Act, California Water Code §13377, et seq; the General
Permit; the Regional Water Board Basin Plan; the California Toxics Rule (CTR); 40 Code of
Federal Regulations §§122.22, 122.26; 40 C.F.R. Chapter I, Subchapter N, § 400, et seq.; and
California Code of Regulations, Title 22, § 64431.

   II.      THE LOCATION OF THE ALLEGED VIOLATIONS

         A. The Facility

        The location of the point sources from which the pollutants identified in this Notice are
discharged in violation of the CWA is AES Sunoptics’ permanent facility address of 6250 27th
Street in Sacramento, California.

       AES Sunoptics is a Facility that manufactures and distributes skylights and
daylighting systems. Facility operations are covered under Standard Industrial Classification
Code(s) (SIC) 2821 - Plastics Materials and Synthetic Resins, and Nonvulcanizable
Elastomers.

        Based on the EPA’s Industrial Storm Water Fact Sheet for industrial businesses with the
SIC code of 2821, stormwater run-off discharges contain many pollutants on the list of chemicals
published by the State of California known to cause cancer, birth defects, and/or developmental
or reproductive harm, including toxic and heavy metals, pH affecting substances, total suspended
solids (TSS), and various types of oil and grease (O&G), as well Aluminum, Magnesium,
Chromium, Cadmium, Copper, Lead, Zinc, and Chemical Oxygen Demand (COD).

       Information available to EDEN indicates that the Facility’s industrial activities and
associated materials are exposed to storm water, and that each of the substances listed on the
EPA’s Industrial Storm Water Fact Sheet is a potential source of pollutants at the Facility.

         B. The Affected Receiving Waters

       The Facility discharges into the Morrison Creek, a tributary of the Sacramento River
(“Receiving Waters”). The Facility’s Receiving Waters are impaired for Dissolved Oxygen,
Group A Pesticides, Chlorpyrifos, Diazinon, Dieldrin, Dioxin, Furan, Mercury, Selenium, PCBs
(Polychlorinated biphenyls), Electrical Conductivity, DDT (Dichlorodiphenyltrichloroethane),
and Chlordane.
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                                                                       60-Day Notice of Intent to Sue
                                                                                     AES Sunoptics
                                                                                 September 4, 2024
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       The Sacramento River is a water of the United States. The CWA requires that water
bodies such as the Sacramento River meet water quality objectives that protect specific
“beneficial uses.” The Regional Water Board has issued its Water Quality Control Plan for the
Sacramento-San Joaquin Delta Basin (“Basin Plan”) to delineate those water quality objectives.

        The Basin Plan identifies the “Beneficial Uses” of water bodies in the region. The
Beneficial Uses for the Receiving Waters downstream of the Facility include: Municipal and
Domestic Supply (MUN), Agricultural Supply (AGR), Industrial Process Supply (PRO),
Industrial Service Supply (IND), Navigation (NAV), Water Contact Recreation (REC-1), Non-
contact Water Recreation (REC-2), Warm Freshwater Habitat (WARM), Cold Freshwater
Habitat (COLD), Wildlife Habitat (WILD), Migration (MIGR), and Spawning, Reproduction,
and/or Early Development (SPWN).

        A water body is impaired pursuant to section 303(d) of the Clean Water Act, 33 U.S.C.
§ 1313(d), when its Beneficial Uses are not being achieved due to the presence of one or more
pollutants. Polluted storm water and non-storm water discharges from industrial facilities, such
as the Facility, contribute to the further degradation of already impaired surface waters, and harm
aquatic dependent wildlife.

   III.      VIOLATIONS OF THE CLEAN WATER ACT AND GENERAL PERMIT

             A. Deficient SWPPP and Site Map

        AES Sunoptics’ current Storm Water Pollution Prevention Plan (“SWPPP”) and Site
Map dated January 11, 2023, for the Facility are inadequate and fail to comply with the
requirements of the General Permit as specified in Section X of Order No. 2014-0057-DWQ,
as delineated below.
      1.      The Site Map does not include all minimum required components for Site
Maps as indicated in Section X.E of the General Permit as follows:
          A. An accurate depiction of all storm water drainage areas within the Facility
             boundary;

          B. Accurate storm water flow direction of each drainage area;

          C. At least one sampling location for every drainage area;

          D. Sampling points which are representative of facility operations;

          E. Locations of all storm water collection and conveyance systems associated with
             discharge locations and the accurate flow direction (i.e. storm drain inlets, v-
             ditches, and underground conveyances);
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     F. Municipal storm drain inlets which receive the Facility’s industrial storm water
        discharges and authorized non-storm water discharges (IGP Section X.E.3.a);

     G. Nearby water bodies such as rivers, lakes and creeks; and

     H. Identification of all impervious areas of the facility, including paved areas,
        buildings, covered storage areas or other roofed structures.



2.   The SWPPP does not include all the required elements, as indicated below:


     A. The Facility WDID number (Section X.A.1);

     B. A complete and detailed list of all Industrial Materials handled at the facility,
        including the locations where the materials are stored, received, shipped and
        handled, and the quantities and handling frequency of the Industrial Materials
        (Sections X.A.3, X.F, X.G.1.a);

     C. A detailed, accurate and complete discussion of Facility operations and all
        industrial processes at the Facility, including manufacturing, cleaning,
        maintenance, recycling, disposal, and any other activities related to each
        industrial process; and the type, characteristics, and approximate quantity of
        industrial materials used in or resulting from the process. Areas protected by
        containment structures and the corresponding containment capacity are also
        required to be identified and described. (Section X.G.1.a);

     D. An accurate and complete description of Potential Pollutant Sources and
        narrative assessment of all areas of industrial activity with potential industrial
        pollutant sources, including Industrial Processes, Material Handling and Storage
        Areas, Dust and Particulate Generating Activities, Significant Spills and Leaks,
        Non-Storm Water Discharges and Erodible Surfaces (Section X.G);

     E. A BMP Summary Table summarizing each BMP currently being implemented at the
        Facility; the associated industrial pollutant the BMP is designed to reduce or prevent; the
        frequency, times of day or conditions when the BMP is scheduled for implementation;
        the individual and/or position responsible for implementing the BMP; the procedures,
        equipment and/or tools necessary to implement the BMP effectively; the locations
        within each area of industrial activity where the BMP is to be implemented; and the
        frequencies of implementation (IGP Sections X.H.4 and X.H.5);
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F.   An identification of all Non-Storm Water Discharges (NSWDs) sources and
     drainage areas, including an evaluation of all drains (inlets and outlets) that
     identifies connections to the storm water conveyance system, and a description of
     how all unauthorized NSWDs have been eliminated (Section X.G.1.e);

G. A discussion of the BMPs the Facility will implement to prevent rinse/wash waters,
   cooling tower piped blowdown or other industrial materials from entering the storm
   water conveyance system and to ensure that all facility areas impacted by cooling tower
   discharges are cleaned as soon as possible (Section X.H.1.a);

 H. An evaluation of the areas of the Facility where spills and leaks are likely to occur
    (IGP Section X.G.1.d.i);

I.   An appropriate Monitoring Implementation Plan, including an identification of
     team members assigned to conduct monitoring requirements, a detailed and
     accurate description of all discharge locations, a discussion of Visual Observation
     procedures and procedures for field instrument calibration instructions (Section
     X.I);

J.   An adequate and accurate discussion of the Facility’s Receiving Waters and
     associated impairments (Section XI.B.6.e, Section X.G.2.ix);

K. A complete and accurate Pollutant Source Assessment and the corresponding
   proper sampling parameters to include all potential pollutants present at the
   Facility likely to come into contact with stormwater (Section XI.B.6);

EDEN’s investigation confirms that Aluminum, Magnesium, Chromium, Cadmium,
Copper, Lead, Zinc, and Chemical Oxygen Demand (COD) are present in industrial
operations at the Facility. The SWPPP fails to include these pollutants as additional
sampling parameters, in violation of Section XI.B.6.c of the General Permit.

L. An appropriate and complete discussion of Drainage Areas and Outfalls from
   which samples must be taken during Qualified Storm Events (Section X.I);

M. The Representative Sampling Reduction justification does not comport with
   Section XI.C.4 of the General Permit;

N. A discussion of whether the Facility is subject to 40 CFR Subchapter N ELGs, or
   incorrectly states that the Facility is not subject to the ELGs;

O. The SWPPP fails to specify that the Facility is subject to Section XVIII of the
   General Permit (special requirements for facilities which handle plastic
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            materials) and further fails to incorporate the required additional BMPs;

       P. A discussion of Exceedance Response Actions;


       Q. A discussion of the requirement for the Facility to file an Annual Report no later
          than July 15th of each reporting year (IGP Section XVI); and

       R. A sample Chain of Custody Form.
       Failure to develop or implement an adequate SWPPP is a violation of Sections II.B.4.f
and X of the General Permit.
           B. Failure to Comply with Facility SWPPP

        The Facility’s current SWPPP dated January 11, 2023 indicates that the Facility will
collect and analyze storm water samples from two qualified storm events within the first half of
each reporting year (July 1 to December 31) and two QSEs within the second half of each
reporting year (January 1 to June 30).

      As detailed below, the Facility failed to collect the required number of storm water
samples during the reporting year 2023-2024.

       The Monitoring Implementation Section of the Facility’s SWPPP identifies the
parameters for which the Facility’s storm water run-off samples must be analyzed, including pH,
oil & grease, Total Suspended Solids, Zinc and Aluminum.
        As specified below, the storm water run-off samples the facility analyzed and uploaded
into the SMARTS system for samples collected during reporting years 2022-2023 and 2023-
2024, failed to include sample analyses for the required parameter of Aluminum, as identified in
the SWPPP.
      Section X.H.g of the General Permit requires all Dischargers to develop and implement
management procedures to ensure that appropriate staff implements all elements of the Facility’s
SWPPP, including the Monitoring Implementation Plan.
           C. Failure to Comply with General Permit Requirements for Handling Plastics

           AES Sunoptics has failed to comply with Section XVIII of the General Permit, which
   provides that all facilities covered under the General Permit which manufacture, transport,
   store or consume plastic materials are required to implement additional Best Management
   Practices (BMPs) to eliminate discharges of plastic in storm water, in addition to the other
   requirements of this General Permit applicable to all other industrial materials and activities.
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          Plastic materials include virgin and recycled plastic resin pellets, powders, flakes,
   powdered additives, regrind, dust, and other similar types of preproduction plastics with the
   potential to discharge or migrate off-site.

            Facilities which handle plastic materials are required to install, at each on-site storm
   drain down gradient of areas containing plastic material, a containment system designed to
   trap all particles retained by a 1mm mesh screen, with a treatment capacity of no less than the
   peak flow rate from a one-year, one-hour storm.

           Facilities which handle plastic materials smaller than 1mm in size must develop a
   containment system designed to trap the smallest plastic material handled at the facility with
   a treatment capacity of at least the peak flow rate from a one-year, one-hour storm, or
   develop a feasible alternative BMP or suite of BMPs that are designed to achieve a similar or
   better performance standard that shall be submitted to the Regional Water Board for
   approval.

            Plastics facilities must also use durable sealed containers designed not to rupture
   under typical loading and unloading activities at all points of plastic transfer and storage;
   utilize capture devices as a form of secondary containment during transfers, loading, or
   unloading plastic materials; and must have a vacuum or vacuum-type system available for
   quick cleanup of fugitive plastic material available for employees.

         If a containment system is not feasible, the facility must implement all eight of the
   BMPs specified in Section XVIII.A.2.b.

          AES Sunoptics’ facility manufactures and distributes skylights and daylighting
   systems and handles pre-production plastics in its production processes.

          From a review of the Facility’s current SWPPP, as well as other information available
   to EDEN, AES Sunoptics has apparently failed to date to install and maintain the required
   containment system or to implement the required BMPs.

           D. Failure to Develop, Implement and/or Revise an Adequate Monitoring and
              Reporting Program Pursuant to the General Permit

       Section XI of the General Permit requires Dischargers to develop and implement a storm
water monitoring and reporting program ("M&RP") prior to conducting industrial activities.
Dischargers have an ongoing obligation to revise the M&RP as necessary to ensure compliance
with the General Permit.

         The objective of the M&RP is to detect and measure the concentrations of pollutants in a
facility’s discharge, and to ensure compliance with the General Permit’s Discharge Prohibitions,
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Effluent Limitations, and Receiving Water Limitations. An adequate M&RP ensures that BMPs
are effectively reducing and/or eliminating pollutants at the Facility, and it must be evaluated and
revised whenever appropriate to ensure compliance with the General Permit.



   1. Failure to Conduct Visual Observations and Maintain Required Records/Reports

       Section XI.A of the General Permit requires all Dischargers to conduct visual
observations at least once each month, and sampling observations at the same time sampling
occurs at a discharge location.

        Section XI.A.3 required all Dischargers to complete contemporaneous records of all
visual observations. The records at a minimum must include the date, approximate time of the
observation, the locations observed, the presence and probable source of any observed pollutants,
the name of the person who conducted the observation, and any response actions and/or
additional SWPPP revisions necessary to be taken in response to the visual observations.

        Section XXI.H provides that Dischargers must produce copies of visual observation
records to regulatory agencies upon request; and Section XXI.J.5 provides that Dischargers must
retain either paper or electronic copies of visual observation records for at least five (5) years.

        EDEN believes that between January 9, 2023, and the present, AES Sunoptics has failed
to conduct monthly and sampling visual observations pursuant to Section XI.A of the General
Permit and to maintain contemporaneous written Visual Observation Reports confirming that
visual observations were conducted.

   2. Failure to Collect and Analyze the Required Number of Storm Water Samples

        In addition, EDEN alleges that AES Sunoptics has failed to provide the Regional
Water Board with the minimum number of annual documented results of Facility run-off
sampling as required under Sections XI.B.2 and XI.B.11.a of Order No. 2014-0057-DWQ, in
violation of the General Permit and the CWA.

        Section XI.B.2 of the General Permit requires that all Dischargers collect and analyze
storm water samples from two Qualifying Storm Events (“QSEs”) within the first half of each
reporting year (July 1 to December 31), and two (2) QSEs within the second half of each
reporting year (January 1 to June 30).
       Section XI.C.6.b provides that if samples are not collected pursuant to the General
Permit, an appropriate and accurate explanation must be included in the Annual Report.
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       As of the date of this Notice, AES Sunoptics has failed to upload into the SMARTS
database system the required number of storm water run-off sample analyses for the reporting
year 2023-24, and has not provided an adequate or accurate explanation for its failure to do so.

       Furthermore, pursuant to data collected from the National Oceanic and Atmospheric
Administration (“NOAA”), there were sufficient storm events occurring near 6250 27th Street in
Sacramento during Facility operating hours within the reporting years where required stormwater
sample collections were missed to have allowed the Facility to collect at least the minimum
number of storm water samples required by the General Permit.

   3.    Failure to Collect Storm Water Run-Off Samples during Qualified Storm Events

        Pursuant to Section XI.B.1 of the General Permit, a Qualified Storm Event (QSE) is a
precipitation event that both produces a discharge for at least one drainage area at the Facility
and is also preceded by 48 hours with no discharge from any drainage area.

       AES Sunoptics’ stormwater runoff sample(s) collected as listed below were not collected
during Qualified Storm Events as defined by the General Permit:

          Sample Date
          1/9/2023
          2/24/2023
          2/19/2024

   4. Failure to Deliver Storm Water Samples to a Laboratory within 48 Hours of Collection

         Pursuant to General Permit Section XI.B.8, referring to Attachment H to the General
Permit, Dischargers must deliver storm water runoff samples to a qualified Laboratory within 48
hours of the date and time of physical sampling. AES Sunoptics’ storm water runoff samples
listed below were not delivered to the Facility’s Laboratory Alpha Analytical Laboratories, Inc.
in that time frame:


                             Date/Time
         Sample Date         Laboratory
                             Received Sample
         2/24/2023 9:00      2/28/2023 8:30
         4/13/2024 9:45      4/16/2024 22:00
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   5. Failure to Accurately Report Sampling Data via SMARTS Ad Hoc Reporting

        AES Sunoptics has failed to fully comply with Section XI.B.11.a of the General Permit
requiring all dischargers to report all sampling and analytical results to SMARTS within 30 days
of receipt.

        The Water Board requires Dischargers to utilize SMARTS’ Ad Hoc Monitoring
Reporting system to report sample analyses. This process includes both entry into SMARTS of
the raw analytical data pertaining to each storm water sample collected and analyzed during the
reporting year, as well as attaching to the Ad Hoc Monitoring Report a PDF copy of the
laboratory report received by the facility.

       AES Sunoptics failed to accurately enter into the SMARTS Ad Hoc Reporting system the
raw analytical data for the storm water samples collected between January 9, 2023, and the
present. Specifically, the Facility failed to report Boron, Aluminum, Chromium, Magnesium,
Cadmium, Copper, and Lead, from the lab analyses conducted by Alpha Analytical Laboratories,
Inc.

       Additionally, the Ad Hoc Monitoring Report for the storm water sample collected on
April 13, 2024, was never submitted to SMARTS.

        Failure to accurately report all storm water sample analyses to SMARTS constitutes false
reporting to a regulatory agency in violation of the standard conditions of the General Permit
outined in Sections XXI.L, XXI.N, XXI.O and XXI.Q.

        In addition, failure to accurately enter sampling data into SMARTS can result in the
inability of SMARTS to recognize when a Discharger enters into Level 1 or Level 2 Exceedance
Response Status, as is the case here.

       Specifically, this Facility entered into Level 1 Exceedance Response Status on July 1,
2023, for Aluminum, Magnesium, and TSS. On July 1, 2024, the facility entered into Level 2
Exceedance Response Status for Magnesium.

   6. Failure to Upload Storm Water Sample Analyses within 30 Days
        Section XI.B.11.a of the General Permit requires Dischargers to submit all sampling and
analytical results for all individual or Qualified Combined Samples via SMARTS within 30 days
of obtaining all results for each sampling event.
       AES Sunoptics failed to upload into SMARTS within 30 days the following sampling
and analytical results pursuant to Section XI.B.11.a of the General Permit:
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                                    Lab Report                Date Uploaded into
        Sample Date                 Receipt Date              SMARTS
        2/24/2023 9:00              3/15/2023 6:47            7/6/2023
        12/27/2023 16:34            1/19/2024 11:52           5/7/2024


   7. Failure to Collect Samples From Each Drainage Area at all Discharge Locations
        Section XI.B.4 of the General Permit requires Dischargers to collect samples from all
discharge locations at all drainage areas, regardless of whether the discharges are substantially
similar.
        The General Permit defines “drainage area” as the “area of land that drains water,
sediment, pollutants, and dissolved materials to a common discharge location.” (Attachment C
to General Permit-Glossary) EDEN’s investigation confirms that there are at least 6 drainage
areas at AES Sunoptics’ facility, with at least 6 corresponding discharge locations.

        The storm water runoff sample analyses AES Sunoptics uploaded for samples collected
on the dates listed below failed to include samples from all discharge locations at the Facility:

        1/9/2023
        2/24/2023
        12/27/2023
        2/19/2024
        4/13/2024


   8. Failure to Analyze Storm Water Samples for All Required Parameters

       General Permit sections XI.B.6.a and XI.B.6.b require all Dischargers to analyze for the
following three parameters, regardless of facility type: pH, Total Suspended Solids (TSS) and
Oil & Grease (O&G).

        Section XI.B.6.c of the General Permit requires Dischargers to analyze for any additional
parameters identified by the Discharger on a facility-specific basis that serve as indicators of the
presence of all industrial pollutants identified in the pollutant source assessment contained in the
Facility’s SWPPP.

       AES Sunoptics’ SWPPP includes Aluminum and Zinc as mandatory sampling
parameters, based on the Pollutant Source Assessment contained in the SWPPP. Additionally,
the Facility is currently analyzing storm water samples for Boron, Aluminum, Magnesium,
Chromium, Cadmium, Copper, Lead, and Zinc, in addition pH, TSS and O&G.
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        Section XI.B.6.e of the General Permit requires Dischargers to analyze for any additional
applicable industrial parameters related to receiving waters with 303(d) listed impairments or
approved TMDLs based on the assessment in Section X.G.2.a.ix. Test methods with lower
detection limits may be necessary when discharging to receiving waters with 303(d) listed
impairments or TMDLs. AES Sunoptics’ receiving waters are impaired for dissolved oxygen,
which is associated with the indicator parameters Chemical Oxygen Demand and Biological
Oxygen Demand.

        EDEN’s investigation confirms that the following additional parameter must be included
in the Facility’s sampling process, as it is associated with AES Sunoptics’ industrial operations:
Chemical Oxygen Demand (COD).

        The storm water runoff sample analyses AES Sunoptics uploaded for samples collected
on the dates listed below failed to include all required additional sampling parameters as outlined
above.


        1/9/2023
        2/24/2023
        12/27/2023
        2/19/2024
        4/13/2024

           E. False/ Deficient Annual Reports Submitted to the Water Board
       Section XXI.L of the General Permit provides as follows:

       L. Certification

       Any person signing, certifying, and submitting documents under Section XXI.K above
       shall make the following certification:

       “I certify under penalty of law that this document and all Attachments were prepared
       under my direction or supervision in accordance with a system designed to assure that
       qualified personnel properly gather and evaluate the information submitted. Based on my
       inquiry of the person or persons who manage the system or those persons directly
       responsible for gathering the information, to the best of my knowledge and belief, the
       information submitted is, true, accurate, and complete. I am aware that there are
       significant penalties for submitting false information, including the possibility of fine and
       imprisonment for knowing violations."
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      AES Sunoptics has failed to comply with Sections XVI.A, XXI.L and XXI.N of the
General Permit by failing to submit complete and accurate Annual Report(s) to the Regional
Water Board for the reporting year 2023-24.



       False Information Re: Failure to Collect the Required Number of Stormwater Samples

        AES Sunoptics’ Annual Reports for the reporting year 2023-24 included Attachment 1 as
an explanation for why AES Sunoptics failed to collect and analyze stormwater run-off during
the required number of Qualifying Storm Events during the applicable reporting year(s) for all
discharge locations, in accordance with Section XI.B.

        Grant Gable certified in the Report, under penalty of perjury, that the required number of
stormwater samples were not collected by the Facility because [allegedly] there were insufficient
qualifying storm water discharges during the reporting year(s) and scheduled facility operating
hours;

        However, records from the National Oceanic and Atmospheric Administration (NOAA)
website/database confirm that during the reporting years in question there were in fact sufficient
Qualified Storm Events (QSEs) occurring near the Facility during or within 12 hours of the start
of regular business hours to allow AES Sunoptics to have collected the requisite number of
samples.

        Thus, AES Sunoptics’ Annual Report submitted to the Regional Water Board through
the SMARTS system on July 16, 2024, did not contain an acceptable reason why the Facility
failed to collect the appropriate number of stormwater samples. Further, the Facility did not
provide documentation supporting the alleged lack of discharge.

       False Information re: Discharge Locations

        Grant Gable certified in the Facility’s Annual Reports for the reporting years 2022-23
and 2023-24 submitted to the Regional Water Board through the SMARTS system on July 6,
2023, and July 16, 2024, that the Facility has only 2 discharge locations when in fact 6 discharge
locations are present at the AES Sunoptics facility.

       False Information re: Representative Sampling Reduction

       Grant Gable certified in the Facility’s Annual Reports for the reporting years 2022-23
and 2023-24 submitted to the Regional Water Board through the SMARTS system on July 6,
2023, and July 16, 2024, that the Facility had not reduced the number of sampling locations
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within a drainage area in accordance with the Representative Sampling Reduction in Section
XI.C.4.

       However, AES Sunoptics SWPPP certified on January 11, 2023, does in fact include a
Representative Sampling Reduction Sampling justification for Drainage Areas A, C, and D.
Subsequently, the Facility has in fact reduced the number of sampling locations within the
aforementioned drainage areas.

      Thus, AES Sunoptics’ Annual Reports submitted to the Regional Water Board through
the SMARTS system as specified above contained objectively false information.

           F. Deficient BMP Implementation
       Sections I.C, V.A and X.C.1.b of the General Permit require Dischargers to identify and
implement minimum and advanced Best Management Practices (“BMPs”) that comply with the
Best Available Technology (“BAT”) and Best Conventional Pollutant Control Technology
(“BCT”) requirements of the General Permit to reduce or prevent discharges of pollutants in their
storm water discharge in a manner that reflects best industry practice, considering technological
availability and economic practicability and achievability.

       EDEN alleges that AES Sunoptics has been conducting industrial activities at the site
without adequate BMPs to prevent resulting non-storm water discharges. Non-storm water
discharges resulting from these activities are not from sources that are listed among the
authorized non-storm water discharges in the General Permit, and thus are always prohibited.

       AES Sunoptics’ failure to develop and/or implement adequate BMPs and pollution
controls to meet BAT and BCT at the Facility violates and will continue to violate the CWA and
the Industrial General Permit each day the Facility discharges storm water without meeting BAT
and BCT.

     EDEN has recently observed the facility and obtained evidence of the following ongoing
BMP deficiencies:

           •   Significant outdoor exposure of raw materials placed on ground surface without
               any BMPs to mitigate storm water exposure;
           •   Significant tracking of white material and residue observed around the entire
               facility, especially in the SE area of facility;
           •   Plastic, trash and other debris accumulation around the facility, particularly
               noticeable near DP-5;
           •   White and brown chemical residue at NE portion of the facility, exiting the v-
               ditch and out the facility's entrance;
           •   NE cooling tower observed leaking;
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           •   Brown paint or otherwise chemical spill observed in the NE area and entering v-
               ditch;
           •   Iron oxide residue observed on the pavement and around the trash bins;
           •   Debris observed accumulating in the loading dock pit; and
           •   Brown dust or residue observed on the ground surface in the SW strip portion of
               the facility.


           G. Discharges In Violation of the General Permit
        Except as authorized by Special Conditions of the General Permit, Discharge Prohibition
III(B) prohibits permittees from discharging materials other than storm water (non-storm water
discharges) either directly or indirectly to waters of the United States. Unauthorized non-storm
water discharges must be either eliminated or permitted by a separate NPDES permit.

       Information available to EDEN indicates that unauthorized non-storm water discharges
occur at the Facility due to inadequate BMP development and/or implementation necessary to
prevent these discharges.

        EDEN alleges that the Discharger has discharged storm water containing excessive levels
of pollutants from the Facility to its Receiving Waters during at least every significant local rain
event over 0.1 inches in the last five (5) years.

       EDEN hereby puts the Discharger on notice that each time the Facility discharges
prohibited non-storm water in violation of Discharge Prohibition III.B of the General Permit is a
separate and distinct violation of the General Permit and Section 301(a) of the Clean Water Act,
33 U.S.C. § 1311(a).

       1. Discharges in Excess of Technology-Based Effluent Limitations

       The Industrial General Permit includes technology-based effluent limitations, which
prohibit the discharge of pollutants from the Facility in concentrations above the level
commensurate with the application of best available technology economically achievable
(“BAT”) for toxic pollutants and best conventional pollutant control technology (“BCT”) for
conventional pollutants. (General Permit, Section X.H.)

        The EPA has published Benchmark values set at the maximum pollutant concentration
levels present if an industrial facility is employing BAT and BCT, as listed in Table 2 of the
General Permit. The General Permit includes “Numeric Action Levels” (“NALs”) derived from
these Benchmark values; however, the NALs do not represent technology-based criteria relevant
to determining whether an industrial facility has implemented BMPs that achieve BAT/BCT.
(General Permit, Section I.M. (Finding 62)).
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        AES Sunoptics’ exceedances of Benchmark values identified in the table listed below,
indicate that it has failed and is failing to employ measures that constitute BAT and BCT, in
violation of the requirements of the Industrial General Permit. EDEN alleges and notifies AES
Sunoptics that its storm water discharges from the Facility have consistently contained and
continue to contain levels of pollutants that exceed Benchmark values as listed below.

       These allegations are based on the Facility’s self-reported data submitted to the Regional
Water Board. Self-monitoring reports under the Permit are deemed “conclusive evidence of an
exceedance of a permit limitation.” Sierra Club v. Union Oil, 813 F.2d 1480, 1492 (9th Cir.
1988).

        AES Sunoptics’ ongoing discharges of storm water containing levels of pollutants above
EPA Benchmark values and BAT- and BCT-based levels of control also demonstrate that it has
not developed and implemented sufficient BMPs at the Facility. EPA Benchmarks are relevant
to the inquiry as to whether a facility has implemented BMPs. [Cal. Sportfishing Prot. Alliance
v. River City Waste Recyclers, LLC (E.D.Cal. 2016) 205 F.Supp.3d 1128; Baykeeper v. Kramer
Metals, Inc. (C.D.Cal. 2009) 619 F.Supp.2d 914, 925; Waterkeepers Northern California v. AG
Industrial Mfg. Inc. (9th Cir. 2004) 375 F.3d 913, 919 (concentration levels in excess of EPA
benchmarks are evidence supporting the citizen plaintiff's contention that defendant did not have
appropriate BMPs to achieve BAT/BCT).]

       AES Sunoptics’ failure to develop and/or implement adequate BMPs and pollution
controls to meet BAT and BCT at the Facility violates and will continue to violate the CWA and
the Industrial General Permit each day the Facility discharges storm water without meeting BAT
and BCT.

       2.   Discharges in Excess of Receiving Water Limitations

       In addition to employing technology based effluent limitations, the Industrial General
Permit requires dischargers to comply with Receiving Water Limitations. Receiving Water
Limitations found in Section VI of the General Permit prohibit storm water discharges and
authorized non-storm water discharges to surface water that adversely impact human health or
the environment.

       Discharges that contain pollutants in concentrations that exceed levels known to
adversely impact aquatic species and the environment also constitute violations of the General
Permit Receiving Water Limitation.

      Applicable Water Quality Standards (“WQS”) are set forth in the California Toxics Rule
(“CTR”) and the Regional Basin Plan. Exceedances of WQS are violations of the Industrial
General Permit, the CTR, the Basin Plan, any parameter included as an impairment for the
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Facility’s Receiving Waters on the 303(d) listing, and any parameters identified by the Regional
Water Board as parameters assigned a total maximum daily load (TMDL).

         Industrial storm water discharges must strictly comply with WQS, including those criteria
listed in the applicable Basin Plan. (See Defenders of Wildlife v. Browner, 191 F.3d 1159, 1166-
67 (9th Cir. 1999).)

        The Basin Plan establishes WQS for the Sacramento River and its tributaries, including
but not limited to the following:

       • Waters shall not contain substances in concentrations that result in the deposition of
material that cause nuisance or adversely affect beneficial uses.

       • Waters shall not contain suspended material in concentrations that cause nuisance or
adversely affect beneficial uses.

       • Waters shall be free of changes in turbidity that cause nuisance or adversely affect
beneficial uses.

    • All waters shall be maintained free of toxic substances in concentrations that are lethal
to or that produce other detrimental responses in aquatic organisms.

       • Surface waters shall not contain concentrations of chemical constituents in amounts that
adversely affect any designated beneficial use.

        Information available to EDEN indicates that the Facility’s storm water discharges
contain elevated concentrations of specific pollutants, as listed below. These polluted
discharges can be acutely toxic and/or have sub-lethal impacts on the avian and aquatic wildlife
in the Receiving Waters. Discharges of elevated concentrations of pollutants in the storm water
from the Facility also adversely impact human health. These harmful discharges from the
Facility are violations of the General Permit Receiving Water Limitation.

       Further, EDEN puts AES Sunoptics on notice that the Receiving Water Limitations are
independent requirements that must be complied with, and that carrying out the process triggered
by exceedances of the NALs listed at Table 2 of the General Permit does not amount to
compliance with the Receiving Water Limitations. The NALs do not represent water quality-
based criteria relevant to determining whether an industrial facility has caused or contributed to
an exceedance of a WQS, or whether it is causing adverse impacts to human health or the
environment.

       Section XX.B of the General Permit provides that when a facility’s industrial storm water
discharges and/or authorized NSWDs are determined to contain pollutants that are in violation of
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Receiving Water Limitations contained in Section VI, the Discharger must conduct a facility
evaluation to identify pollutant source(s) within the facility that are associated with industrial
activity and whether the BMPs described in the SWPPP have been properly implemented, assess
its current SWPPP, and certify via SMARTS any additional BMPs identified which are
necessary in order to meet the Receiving Water Limitations.

        EDEN alleges that from at least January 9, 2023 to the present, AES Sunoptics has been
in violation of the Receiving Water Limitations provision of Section VI of the General Permit, as
evidenced by its exceedances of the applicable Water Quality Standards set forth in the Regional
Basin Plan, indicated below.

      Specifically, AES Sunoptics’ sample analyses summarized below violate the strict
numeric effluent limitations (NELs) established for Sacramento River.

        Further, AES Sunoptics has failed to comply with Section XX.B of the General Permit.
Failure to comply with the additional Water Quality-Based Corrective Action requirements listed
in Section XX.B is an additional violation of the General Permit.

       The following discharges of pollutants from the Facility have violated Discharge
Prohibitions of the General Permit and are evidence of ongoing violations of Effluent
Limitations:

       Sample Collection      Outfall            Parameter                 Sample
       Date                                                                Analysis
                                                                           Result*

                                     Reporting Year 2022-23

       1/9/2023               DS-2               Aluminum                  5.700
                                                 Cadmium                   0.00091
                                                 Copper                    0.084
                                                 Zinc                      0.79
                              DS-4               pH                        8.90


       2/24/2023              DS-4               Zinc                      0.11

                                     Reporting Year 2023-24

       12/27/2023             DS-2               Copper                    0.0977
                                                 pH                        6.20
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         Sample Collection          Outfall                 Parameter                      Sample
         Date                                                                              Analysis
                                                                                           Result*
         2/19/2024                  DS-2                    Copper                         0.00762
                                                            Zinc                           0.2020
                                                            pH                             8.80
                                    DS-4                    Copper                         0.00741


         4/13/2024                  DS-2                    pH                             8.70


*All units are listed in milligrams per liter (mg/L), except pH, which is listed in pH units (SU)

Listed below are the EPA Benchmark numeric action levels associated with the parameters, as
identified on Table 2 of the General Permit, as well as the Maximum Contaminant Levels
(MCLs) listed in the California Code of Regulations, Title 22, Section 64431 (Table 64431-A) and
the Water Quality Control Plan (Basin Plan) for the California Regional Water Quality Control
Board, Central Valley Regional, Fifth Edition (Revised May 2018), Basin Plan Table 3-1, Trace
Element Water Quality Objectives.



         Parameter                  EPA               EPA                CV BASIN              CCR Title 22
                                    Benchmark         Benchmark          PLAN                  Section 64431
                                    Annual            NAL                Table 3-1
                                    NAL               instantaneous      MCL value
                                                      Value
         pH                         N/A               >6 or <9 SU        >6.5 or >8.5          N/A
         Total Suspended            100 mg/L          400 mg/L           N/A                   N/A
         Solids (TSS)
         Oil & Grease               15 mg/L           25 mg/L            N/A                   N/A
         Zinc                       .26 mg/L          N/A                .10 mg/L              N/A
         Copper                     .0332 mg/L        N/A                .0056 mg/L            N/A
         Lead                       .262 mg/L         N/A                N/A                   .05 mg/L
         Chemical Oxygen Demand     120 mg/L          N/A                N/A                   N/A
         (COD)
         Biochemical Oxygen         30 mg/L           N/A                N/A                   N/A
         Demand (BOD)
         Aluminum                   .75 mg/L          N/A                N/A                   1.0 mg/L
         Iron                       1.0 mg/L          N/A                .30 mg/L              N/A
         Nitrate + Nitrate          .68 mg/L          N/A                N/A                   45 mg/L
         Nitrogen
         Phosphorus                 2.0 mg/L          N/A                N/A                   N/A
         Ammonia                    2.14 mg/L         N/A                N/A                   N/A
         Magnesium                  .064 mg/L         N/A                N/A                   N/A
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       Parameter              EPA           EPA                CV BASIN            CCR Title 22
                              Benchmark     Benchmark          PLAN                Section 64431
                              Annual        NAL                Table 3-1
                              NAL           instantaneous      MCL value
                                            Value
       Arsenic                .064 mg/L     N/A                N/A                 N/A
       Cadmium                .0053 mg/L    N/A                .00022 mg/L         .01 mg/L9i
       Nickel                 1.02 mg/L     N/A                N/A                 N/A
       Mercury                .0014 mg/L    N/A                N/A                 N/A
       Selenium               .005 mg/L     N/A                N/A                 N/A
       Silver                 .0183 mg/L    N/A                .01 mg/L            .05 mg/L



           H. Failure to Comply with Exceedance Response Action Requirements

       As of July 1, 2015, the date the current General Permit became effective, all Dischargers
were in “Baseline status” for all parameters listed in Table 2 of the Permit. (General Permit,
Section XII.B.

       Level 1 ERA Evaluation and Report

        Pursuant to Section XII.C of the General Permit, a Discharger’s Baseline status for any
given parameter changes to “Level 1 status” if sampling results indicate either an annual average
or instantaneous Numeric Action Level (“NAL”) exceedance for that same parameter.

        Level 1 status commences on July 1 following the Reporting Year during which the
exceedance(s) occurred, and the Discharger enters the Exceedance Response Action (“ERA”)
process. The ERA process requires the Discharger to conduct a Level 1 ERA Evaluation, with
the assistance of a Qualified Industrial Stormwater Practitioner (“QISP”), of the industrial
pollutant sources at the Facility that are or may be related to the NAL exceedance(s), and to do
so by October 1 following commencement of Level 1 status.

        The Level 1 ERA Evaluation must include the identification of the corresponding BMPs
in the SWPPP, as well as any additional BMPs and SWPPP revisions necessary to prevent future
NAL exceedances and to comply with the requirements of the General Permit. Furthermore, the
Evaluation must include all drainage areas at the facility.

        Based upon the Level 1 ERA Evaluation, the Discharger is required to, as soon as
practicable, but no later than January 1 following commencement of Level 1 status, prepare a
Level 1 ERA Report. (Section XII.C.2). The Level 1 Report must be prepared by a QISP and
must include a summary of the Level 1 ERA Evaluation, a detailed description of the necessary
SWPPP revisions, and any additional BMPs for each parameter that exceeded an NAL.
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        The SWPPP revisions and additional BMP development and implementation must also
be completed by January 1. The Level 1 status discharger is required to submit via SMARTs the
Level 1 ERA Report certifying that the Level 1 ERA Evaluation has been conducted, and
necessary SWPPP revisions and BMP implementation has been completed. The certification
also requires the QISP’s identification number, name, and contact information (telephone
number, e-mail address).

        A Discharger’s Level 1 status for a parameter will return to Baseline status if a Level 1
ERA Report has been completed, all identified additional BMPs have been implemented, and
results from four (4) consecutive qualified storm events that were sampled subsequent to BMP
implementation indicate no additional NAL exceedances for that parameter.

       Level 2 ERA Action Plan

      A Discharger will enter Level 2 status if there is an NAL exceedance of the same
parameter occurring during the time the Discharger is in Level 1 status.

       By January 1 following the reporting year during which the NAL exceedance(s)
occurred, Dischargers in Level 2 status must certify and submit via SMARTS a Level 2 ERA
Action Plan prepared by a QISP that addresses each new Level 2 NAL exceedance.

       For each new Level 2 exceedance, the Level 2 Action Plan must select one of three
available “demonstrations” the Facility will perform to address the exceedance(s). These
demonstrations include:

       (a) Industrial Activity BMP Demonstration (the Facility evaluates their implemented
BMPs and additional BMPs identified in the Level 1 ERA Report to determine whether the
BMPs will achieve compliance with the effluent limitations of the General Permit and are
expected to eliminate future NAL exceedances);

       (b) Non-Industrial Pollutant Source Demonstration (the Facility determines that its NAL
exceedances are attributable solely to the presence of non-industrial pollutant sources); or

        (c) Natural Background Pollutant Source Demonstration (the Facility determines that its
NAL exceedances are attributable solely to the presence of pollutants in the natural background
that has not been disturbed by industrial activities).

       The Level 2 ERA Action Plan must address all drainage areas with corresponding Level
2 exceedances and must include a time schedule and detailed description of the specific tasks
required to complete the selected demonstration(s). Further, all elements of the Action Plan
must be implemented as soon as possible and completed no later than one year following
the submission of the Action Plan.
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       Level 2 ERA Technical Report

       On January 1 of the reporting year following submittal of a Level 2 ERA Action Plan,
Dischargers in Level 2 must certify and submit a Level 2 ERA Technical Report prepared by a
QISP that describes the Facility’s progress with its selection of either the (a) Industrial Activity
BMPs; (b) Non-Industrial Pollutant Source Demonstration; or (c) Natural Background Pollutant
Source Demonstration.

       Furthermore, if additional NAL exceedances occur the following reporting year for the
same parameter and the same drainage area, Dischargers must annually update the Level 2 ERA
Technical Report by January 1 of each subsequent year during which exceedances continue to
occur.

       Failure to Submit Level 1 ERA Report

        Based on the sample data summarized above, the Facility exceeded the EPA Benchmark
NAL for Aluminum, Magnesium, and Total Suspended Solids (TSS) and was elevated to Level 1
Status on July 1, 2023, pursuant to Section XII.C – Exceedance Response Actions -- of the
General Permit.

      Pursuant to Section XII.C.2 of the General Permit, the Facility was required to have a
QISP conduct an evaluation of the Facility by October 1, 2023, and to certify and submit to
SMARTS an adequate Level 1 ERA Report prepared by the QISP on or before January 1, 2024.

       As of the date of this Notice, EDEN alleges that AES Sunoptics has failed to conduct an
adequate Level 1 status evaluation and has also failed to certify and submit to SMARTS a Level
1 ERA report.

        Every day that AES Sunoptics operates at the Facility without complying with the
required Exceedance Response Actions pursuant to the General Permit is a separate and distinct
violation of the General Permit and Section 301(a) of the Clean Water Act, 33 U.S.C. §1311(a).

       AES Sunoptics has been in daily and continuous violation of the General Permit’s ERA
requirements every day since January 1, 2024. These violations are ongoing, and EDEN will
include additional violations when information becomes available.
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           I. Failure to Properly Train Employees/Facility Pollution Prevention Team

        Section X.D.1 of the General Permit requires each Facility to establish a Pollution
Prevention Team responsible for assisting with the implementation of the requirements of the
General Permit. The Facility is also required to identify alternate team members to implement
the SWPPP and conduct required monitoring when the regularly assigned Pollution Prevention
Team members are temporarily unavailable (due to vacation, illness, out of town business, or
other absences).

        Section X.H.f of the General Permit also requires that each Facility ensure that all
Pollution Prevention Team members implementing the various compliance activities of the
General Permit are properly trained in at least the following minimum requirements: BMP
implementation, BMP effectiveness evaluations, visual observations, and monitoring activities.
Further, if a Facility enters Level 1 status, appropriate team members must be trained by a QISP.

        AES Sunoptics has failed to comply with numerous standard conditions of the General
Permit as outlined above and has failed to retain a QISP to trains its Pollution Prevention Team
after entering Level 1 status, in violation of General Permit Section XII.

        Based on the foregoing violations, it is clear that AES Sunoptics has either not properly
established its Pollution Prevention Team, or has not adequately trained its Pollution Prevention
Team, in violation of Sections X.D.1 and X.H.f of the General Permit.

       AES Sunoptics may have had other violations that can only be fully identified and
documented once discovery and investigation have been completed. Hence, to the extent
possible, EDEN includes such violations in this Notice and reserves the right to amend this
Notice, if necessary, to include such further violations in future legal proceedings.

        IV.    THE PERSON OR PERSONS RESPONSIBLE FOR THE VIOLATIONS

       The individuals and entities responsible for the alleged violations are AES Sunoptics, Inc.
and A-1 Distributing Incorporated, as well as the respective corporate officers and employees of
the Facility responsible for compliance with the CWA.


        V.     THE DATE, DATES, OR REASONABLE RANGE OF DATES OF THE
               VIOLATIONS

        The range of dates covered by this 60-day Notice is January 1, 2023, to the date of this
Notice. EDEN may from time to time update this Notice to include all violations which may
occur after the range of dates covered by this Notice. Some of the violations are continuous in
nature; therefore, each day constitutes a violation.
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        VI.    CONTACT INFORMATION

       The entity giving this 60-day Notice is:

       Central Valley EDEN ENVIRONMENTAL DEFENDERS, LLC
       1520 E. Covell Blvd, Suite B5
       Davis, CA 95616
       (800) 545-7215

       The attorney assigned to this matter is:

       Adam D. Brumm, Esq.
       Central Valley EDEN ENVIRONMENTAL DEFENDERS, LLC
       1520 E. Covell Blvd, Suite B5
       Davis, CA 95616
       (800) 545-7215, extension 906
       Email: adam@edendefenders.org



    To ensure an expedited response to this Notice, please send all initial
communications to the following email address: responses@edendefenders.org.


      VII.     RELIEF SOUGHT FOR VIOLATIONS OF THE CLEAN WATER ACT


       CWA §§ 505(a)(1) and 505(f) provide for citizen enforcement actions against any
“person,” including individuals, corporations, or partnerships, for violations of NPDES permit
requirements and for un-permitted discharges of pollutants. 33 U.S.C. §§ 1365(a)(1) and (f),
§1362(5).

       Pursuant to Section 309(d) of the Clean Water Act, 33 U.S.C. § 1319(d), and the
Adjustment of Civil Monetary Penalties for Inflation, 40 C.F.R. § 19.4, each separate violation of
the Clean Water Act subjects the violator to a penalty for all violations occurring during the
period commencing five (5) years prior to the date of the Notice Letter. These provisions of law
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currently authorize civil penalties of $57,617.00 per day, for each violation occurring on or
after November 2, 2015.

        In addition to civil penalties, EDEN will seek injunctive relief preventing further
violations of the Clean Water Act pursuant to Sections 505(a) and (d), 33 U.S.C. § 1365(a) and
(d), declaratory relief, and such other relief as permitted by law.

         Lastly, pursuant to 33 U.S.C. § 1365(d), EDEN will seek to recover its pre and post-
litigation costs, including all attorneys’ and experts’ fees and costs incurred in this matter.

      VIII.    CONCLUSION

        The CWA specifically provides a 60-day notice period to promote resolution of disputes.
EDEN encourages AES Sunoptics’ counsel to contact EDEN within 20 days of receipt of this
Notice by sending an email to responses@edendefenders.org to initiate a discussion regarding
the violations detailed herein and to determine how AES Sunoptics may resolve this matter
without the necessity of litigation.

         During the 60-day notice period, EDEN is willing to discuss effective remedies for the
violations; however, if AES Sunoptics wishes to pursue such discussions in the absence of
litigation, it is suggested those discussions be initiated soon so that they may be completed
before the end of the 60-day notice period.

        If EDEN does not receive a response from AES Sunoptics’ counsel before the expiration
of the 60-day notice period, this matter will be transferred to EDEN’s litigation counsel. Thank
you.

Sincerely,


EDEN Environmental Defenders
Copies to:
Michael Regan, Director, U.S. Environmental Protection Agency, regan.michael@epa.gov
Regional Administrator, U.S. EPA – Region 9
Sarah Rowan: rowan.sarah@epa.gov and Laurie Kermish: kermish.laurie@epa.gov
Eric Oppenheimer, State Water Resources Control Board, eric.oppenheimer@waterboards.ca.gov
Mayumi Okamoto, State Water Board Office of Enforcement: Mayumi.Okamoto@waterboards.ca.gov
California Water Boards Stormwater Program, stormwater@waterboards.ca.gov
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                   EXHIBIT B
                     Case 2:25-cv-00450-SCR                 Document 1                     Filed 02/04/25        Page 66 of 67GAVIN NEWSOM
                                                     State Water Resources Control Board

                                                    NOTICE OF INTENT
                                          GENERAL PERMIT TO DISCHARGE STORM WATER                                                   YANA GARCIA
                               ASSOCIATED WITH INDUSTRIAL ACTIVITY (WQ ORDER No. 2014-0057-DWQ)
                                                   (Excluding Construction Activities)


    WDID: 5S34I030077                                                                           Status: Active

  Operator Information                                                                              Type: Private Business

          Name:               AES Sunoptics Inc                           Contact Name:                           Grant Grable

        Address:               6250 27th Street                                             Title: VP Operations and Business Development
    Address 2:                                                          Phone Number:                            916-395-4700

 City/State/Zip:            Sacramento CA 95822                          Email Address:                  grant.grable@aessunoptics.com

Federal Tax ID:

  Facility Information                                                                           Level:

Contact Name:                   Grant Grable                                                Title: VP Operations and Business Development
    Site Name: AES Sunoptics Inc
        Address: 6250 27th Street
 City/State/Zip:           Sacramento CA 95822                              Site Phone #:                        916-395-4700
         County:                 Sacramento                              Email Address:                  grant.grable@aessunoptics.com

        Latitude: 38.512251         Longitude: -121.477756                         Site Size:                        4.6 Acres

                                      Industrial Area Exposed to Storm Water:                                        4.1 Acres
                            Percent of Site Impervious (Including Rooftops):                                           89 %

   SIC Code Information

   1.      2821                         Plastics Material and Synthetic Resins, and Nonvulcanizable Elastomers

   2.
   3.

   Additional Information
        Receiving Water:                             Morrison Creek                                          Flow:            Indirectly

  Storm Drain System:
   Compliance Group:




  RWQCB Jurisdiction: Region 5S - Sacramento
          Phone:                916-464-3291                                               Email:     r5s_stormwater@waterboards.ca.gov


   Certification

          Name: Grant Grable                                                               Date: January 13, 2023
            Title: VP Operations and Business Development
                     Case 2:25-cv-00450-SCR                Document 1                     Filed 02/04/25        Page 67 of 67GAVIN NEWSOM
                                                    State Water Resources Control Board

                                                   NOTICE OF INTENT
                                         GENERAL PERMIT TO DISCHARGE STORM WATER                                                   YANA GARCIA
                               ASSOCIATED WITH INDUSTRIAL ACTIVITY (WQ ORDER No. 2014-0057-DWQ)
                                                  (Excluding Construction Activities)


    WDID: 5S34I030077                                                                          Status: Active

  Operator Information                                                                             Type: Private Business

          Name:               AES Sunoptics Inc                          Contact Name:                           Grant Grable

        Address:               6250 27th Street                                            Title: VP Operations and Business Development
    Address 2:                                                         Phone Number:                            916-395-4700

 City/State/Zip:            Sacramento CA 95822                         Email Address:                  grant.grable@aessunoptics.com

Federal Tax ID:

  Facility Information                                                                          Level:

Contact Name:                   Grant Grable                                               Title: VP Operations and Business Development
    Site Name: AES Sunoptics Inc
        Address: 6250 27th Street
 City/State/Zip:           Sacramento CA 95822                             Site Phone #:                        916-395-4700
         County:                 Sacramento                             Email Address:                  grant.grable@aessunoptics.com

        Latitude: 38.512251         Longitude: -121.477756                        Site Size:                        4.6 Acres

                                      Industrial Area Exposed to Storm Water:                                       4.1 Acres
                            Percent of Site Impervious (Including Rooftops):                                          89 %

   SIC Code Information

   1.      3999                                              Manufacturing Industries, NEC

   2.
   3.

   Additional Information
        Receiving Water:                            Morrison Creek                                          Flow:            Indirectly

  Storm Drain System:
   Compliance Group:




  RWQCB Jurisdiction: Region 5S - Sacramento
          Phone:                916-464-3291                                              Email:     r5s_stormwater@waterboards.ca.gov


   Certification

          Name: Grant Grable                                                              Date: January 13, 2023
            Title: VP Operations and Business Development
